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                            Exhibit 3
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Alibaba, Amazon, and Counterfeiting in the Age of the Internet
Daniel C.K. Chow




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        ALIBABA, AMAZON, AND
        COUNTERFEITING IN THE AGE OF
        THE INTERNET

        Daniel C.K. Chow

              Abstract:

              The advent of e-commerce marketplaces such as Alibaba and Amazon in the new
              millennium has led to the proliferation of the sale of counterfeit goods around the
              world through the Internet. Brand owners find that Internet counterfeiters
              operating in the digital world present even more challenges than those using only
              brick-and-mortar operations. Internet counterfeiters have unprecedented access
              to consumers. They use false identities and addresses and vanish into cyberspace
              at the first sign of trouble. Brand owners seeking help from Alibaba and Amazon
              to remove listings of counterfeits have become frustrated by their convoluted and
              labyrinthine notice and take-down procedures. Even when these procedures are
              used successfully, brand owners find that the process can take months only to
              have the counterfeiter reappear in short order using a new false identity. Many
              brand owners find that dealing with Alibaba and Amazon only adds to their
              misery and believe that both tolerate counterfeits as they earn revenue from all
              sales, including sales of counterfeit goods.

              This Article sets forth for the first time how brand owners can use a set of
              currently available information technology tools to help create an effective
              deterrent to counterfeits on the Internet. Using these tools, brand owners can
              force counterfeiters to abandon the subterfuge and disguise that they rely on so
              that brand owners can—without the assistance of e-commerce platforms—
              directly pursue counterfeiters in civil and criminal actions in China where most
              of the counterfeiters are located and in the United States. The proposed approach
              should help deter counterfeiters who always work in secrecy and disguise by


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        China (now known as the Quality Brands Protection Committee), and was the principal author
        of the white paper on counterfeiting in China commissioned by the PRC State Council. More
        recently, in addition to academic duties, the author served as an attorney and expert witness in
        U.S. litigation involving the sale of counterfeit cigarettes and internet e-commerce sites in
        China and the United States. The opinions expressed in this Article are the author’s own but
        the author has profited from many discussions with colleagues. The author also thanks Natasha
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              exposing them to what they fear and loathe the most: transparency and
              accountability for their illegal actions.




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        I. INTRODUCTION
              The advent of internet commerce (e-commerce) in the early 2000s
        coincided with the unprecedented and historic rise of counterfeiting in the
        People’s Republic of China (PRC or China) that had begun in the 1990s.1
        Although sales of counterfeits through brick-and-mortar establishments had
        already gained a substantial share of the market in China by the early 2000s,2
        the rise of the Internet in the new millennium has allowed counterfeiters in
        China unparalleled access to consumers not just in China but also in the
        United States and worldwide by transcending the physical limitations
        inherent in the use of brick-and-mortar operations.3 Recent studies show that
        counterfeits and infringing products have proliferated on the Internet and
        have reached levels of saturation that were unattainable by counterfeiters
        selling through brick-and-mortar distributors.4 For example, Xinhua, China’s
        official news agency stated that more than 40% of all goods sold online
        through Chinese e-commerce platforms in a recent year were “counterfeits
        or of bad quality.”5 Since Xinhua is controlled by the Communist Party of
        China (the Party) and would want to present China in the best light possible,
        the 40% figure might understate the severity of the problem. Most consumers
        in China believe that the likelihood of a product sold on the Internet is
        counterfeit is very high, and those who wish to buy genuine products avoid
        the use of the Internet altogether.6 This 40% figure cited by Xinhua is double
        the estimated 15-20% rate of counterfeits sold in brick-and-mortar
        establishments in China.7 In the United States, the U.S. General Accounting
        Office recently conducted a study and found that among a selection of 47
        items belonging to four types of frequently counterfeited goods (i.e.,
        sneakers, mugs, cosmetics, and phone chargers) purchased online, 27 were

           1   See Daniel C.K. Chow, Counterfeiting in the People’s Republic of China, 78 WASH.
        U.L Q. 1, 3 (2000).
           2   By the early 2000s, brand owners estimated that counterfeits comprised 15-20% of all
        goods sold on the market in China. See id. at 3 n.3 (citing Joseph T. Simone, Countering
        Counterfeiters, CHINA BUS. REV., Jan. 1, 1999, at 12).
           3   See U.S. GOV’T ACCOUNTABILITY OFFICE, GAO-18-216, INTELLECTUAL PROPERTY:
        AGENCIES CAN IMPROVE EFFORTS TO ADDRESS RISKS POSED BY CHANGING COUNTERFEITS
        MARKET 11 (2018), https://www.gao.gov/assets/690/689713.pdf (discussing how the use of
        the internet allows counterfeiters to transcend limits of brick and mortar counterfeiting)
        [hereinafter GAO REPORT].
           4   See infra Parts II.A & II.B.
           5   More than 40 Per Cent of China’s Online Sales ‘Counterfeits or Bad Quality’,
        TELEGRAPH (Nov. 3, 2015), https://www.telegraph.co.uk/news/worldnews/asia/china/11971
        401/More-than-40-per-cent-of-Chinas-online-sales-counterfeit-or-bad-quality.html. Xinhua
        does not distinguish between counterfeits and products of poor quality; it is unclear whether
        Xinhua believes that these are two separate categories of goods or a single category as most
        counterfeits are of poor quality.
           6   This observation is based upon the author’s own experience living and working in
        China and on discussions with colleagues and associates.
           7   See Chow, supra note 1, at 3 n.3.


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        authentic and 20 were counterfeit.8 After Seattle-based Amazon made efforts
        in 2015 to woo Chinese manufacturers to sell directly on its platform,
        complaints about counterfeits and infringing products sold on Amazon have
        risen sharply.9
              Efforts by multinational companies (MNCs) that own trademarks (or
        brands), copyrights, and other intellectual property rights to stem the flow of
        counterfeits through the Internet have been largely unsuccessful, leading to
        anger and frustration.10 Under current legal regimes, e-commerce platforms
        are in general not liable for counterfeits sold by third-party online vendors
        using the site;11 liability lies with the vendor itself, but many brand owners
        argue that Internet commerce sites facilitate the sales of counterfeits.12 E-
        commerce platforms earn revenues from sales, including sales of
        counterfeits.13 Many brand owners argue that e-commerce platforms
        facilitate counterfeiting by allowing webpages or postings of counterfeit
        goods to remain on their sites despite the many protests of brand owners.14
        Some of these offending webpages are removed after brand owners suffer
        through a long and convoluted notice and takedown procedure only to
        reappear under a new false name and address in short order.15 In China,

            8  See GAO REPORT, supra note 3, at 15. The products were Nike Air Jordan shoes, Yeti
        travel mugs, Urban Decay cosmetics, and UL-certified phone chargers. Id.
            9  Wade Shepard, How Amazon’s Wooing of Chinese Sellers Is Killing Small American
        Businesses, FORBES (Feb. 14, 2017), https://www.forbes.com/sites/wadeshepard/2017/02
        /14/how-amazons-wooing-of-chinese-sellers-is-hurting-american-innovation/#13af78741d
        f2.
            10 See infra Parts II.B & II.D.
            11
               See Digital Millennium Copyright Act of 1998 (DMCA), 17 U.S.C. § 512 (Westlaw
        through Pub. L. No. 116-68) (creating a “safe harbor” from vicarious liability for ISPs that
        upon notification remove infringing material expeditiously). For cases holding that the ISP is
        not vicariously liable for the sale by third party vendors, see generally Milo & Gabby, LLC v.
        Amazon.com, Inc., 2015 WL 4394673 (W.D. Wash. July 16, 2015); Perfect 10, Inc. v.
        Amazon.com, Inc., 2009 WL 1334364 (C.D. Cal. May 12, 2009); Hendrickson v. Amazon.com,
        Inc., 298 F. Supp. 2d 914 (C.D. Cal. 2003).
            12 See infra Parts II.B, II.D & II.E.
            13 See David Pierson, Extra Inventory. More Sales. Lower Prices. How Counterfeits

        Benefit Amazon, L.A. TIMES (Sept. 28, 2018), https://www.latimes.com/business/
        technology/la-fi-tn-amazon-counterfeits-20180928-story.html (“Not only has [Amazon]
        avoided any serious backlash for allowing the sale of fake goods, it’s actually thrived from it,
        say more than two dozen brand owners, e-commerce consultants, attorneys, investigators and
        public policy experts.”).
            14 See infra Parts II.D & II.E.
            15 See Pierson, supra note 13 (“[I]f Amazon shutters one store for selling knockoffs, the

        owner often shifts operations to another.”); Alana Semuels, Amazon May Have a Counterfeit
        Problem, THE ATLANTIC (Apr. 20, 2018), https://www.theatlantic.com/technology/archive/
        2018/04/amazon-may-have-a-counterfeit-problem/558482/ (“‘These problems come up once
        a week.’”). Cf. Jeff Bercovici, Huge Counterfeiting Problem. This “Shark Tank” Company Is
        Fighting Back, INC.COM (Apr. 2019), https://www.inc.com/magazine/201904/jeff-bercovici
        /amazon-fake-copycat-knockoff-products-small-business.html (“A recent Pointer report
        noted that Amazon in among the least responsive of all e-commerce platforms to takedown


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        MNCs have waged a decades-long struggle against Alibaba to stem the sale
        of counterfeits with few tangible results.16 Although Alibaba claims to have
        made many serious efforts in combatting the sale of counterfeit goods, many
        brand owners remain frustrated and dissatisfied.17 As in the case of Alibaba,
        brand owners in the United States are frustrated with what they perceive to
        be Amazon’s half-hearted efforts to battle the flow of counterfeits.18 This
        Article examines counterfeiting on the Internet with a focus on Alibaba and
        Amazon, the largest e-commerce platforms in China and the United States
        respectively and in the world.19 The lessons learned can be immediately
        applied to other e-commerce platforms.
              This Article focuses on why the sale of counterfeits on the Internet has
        exploded and allowed counterfeiters to penetrate markets that were
        previously unavailable when counterfeiters were limited to brick and mortar
        operations. Not only has the Internet given counterfeiters vast new
        opportunities for profit but it has also allowed them to operate in the digital
        world in the open, while simultaneously being able to use false cyber
        identities and addresses to evade detection and capture by brand owners and
        law enforcement authorities.20 With the emergence of the Internet,
        counterfeiting and piracy—already a worldwide problem—have entered into
        a new and even more potent phase.21 Up to the present, MNCs have been
        frustrated by their inability to curtail the growth of counterfeits on the
        Internet.22
              Although the problems created by the Internet are daunting, this Article
        argues that a simple and effective deterrent exists in China but has been
        overlooked or ignored by MNCs and e-commerce platforms and explains
        how this deterrent can be used effectively. This Article sets forth for the first
        time how these remedial measures can be used to curtail the explosion of


        notices, removing only 25 percent of infringing listings.”).
            16 See infra Part II.D.
            17 See id.
            18 According to one brand owner representative, “Amazon is making money hand over

        fist from counterfeiters, and they’ve done about as little as possible for as long as possible to
        address the issue.” Ari Levy, Amazon’s Chinese Counterfeit Problem Is Getting Worse, CNBC
        (July 8, 2016), https://www.cnbc.com/2016/07/08/amazons-chinese-counterfeit-problem-is-
        getting-worse.html. See also Semuels, supra note 15 (describing Amazon’s low level of
        responsiveness to brand owner concerns).
            19 Alibaba is the world’s largest e-commerce marketplace and Amazon is the second

        largest. See infra notes 103 & 107.
            20 See Pierson, supra note 13.
            21 See BUS. ACTION TO STOP COUNTERFEITING AND PIRACY & INT’L CHAMBER OF

        COMMERCE, ROLES AND RESPONSIBILITIES OF INTERMEDIARIES: FIGHTING COUNTERFEITING
        AND PIRACY IN THE SUPPLY CHAIN 5 (2015), https://iccwbo.org/publication/roles-respon
        sibilities-intermediaries/ (“The Internet has been particularly vulnerable . . . to counterfeiters
        and other criminal capitalizing on the success (and intellectual property) of legitimate
        businesses while remaining anonymous and avoiding detection.”).
            22 See infra Part III.




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        counterfeits on the Internet. In setting forth this analysis, this Article will
        underscore the following three major points that must be understood by all
        MNCs and other brand owners in modern e-commerce. First, the
        emergence of e-commerce platforms such as Alibaba and Amazon have
        given counterfeiters a vast new tool to reach end use consumers. Prior to the
        Internet, counterfeiters were subject to the physical limitations created by
        brick-and-mortar distribution and retail sites and were unable to penetrate
        distribution channels that would allow them to sell counterfeits in reputable
        retail outlets.23 Consumers had to travel to less desirable locations to buy
        counterfeits as state-owned department stores and high end retailers in China
        and large reputable retail chains such as Walmart, Target, and Costco in the
        United States refused to deal with distributors of counterfeit goods.24 Instead,
        consumers in China or the United States who wished to purchase counterfeits
        had to go to small discount stores, mom-and-pop stores, flea markets, street
        vendors, or private addresses in side streets, back alleys or other undesirable
        locations, a prospect that deterred many consumers.25 The emergence of the
        Internet has now given what counterfeiters have always sought: a legitimate
        distribution channel that consumers can access at any time from their
        computers without having to travel to undesirable locations to buy
        counterfeits from brick-and-mortar sellers.26 The Internet also gives
        counterfeiters the ability to disguise their identities and to disappear into the
        vastness of cyberspace at the first sign of trouble.27 All counterfeiters and
        pirates, whether they sell in brick-and-mortar locations or through the
        Internet, are very fearful of detection and capture.28 Counterfeiters that use
        brick-and-mortar establishments are subject to surprise raids and seizures by
        enforcement authorities,29 but Internet counterfeiters have found ways to use
        false identities that are untraceable by brand owners; even when they are
        detected, Internet pirates that are shut down are able to immediately create
        new false identities and return to their illegal operations on the Internet.30
              Second, PRC enforcement officials have recently acknowledged in an

           23  See GAO REPORT, supra note 3, at 11.
           24  This observation is based on the author’s own experience as an attorney working for
        U.S. brand owners in tracking the distribution channel of counterfeits.
            25 Id. See GAO REPORT, supra note 3, at 10 (counterfeits were traditionally sold in

        “underground” or secondary markets such as flea markets or sidewalk vendors).
            26 See GAO REPORT, supra note 3, at 11–12.
            27 See id.
            28 This observation is based on the author’s firsthand experience in pursuing

        counterfeiters.
            29 See Chow, supra note 1, at 19 –21 (describing raids conducted in Yiwu City, “a

        significant wholesale distribution center for counterfeit goods in the PRC[,]” from 1998 to
        1999).
            30 See Pierson, supra note 13 (“[B]rands say the same fraudsters keep showing up under

        different names[.]”); Semuels, supra note 15 (“Milo and Gabby tried to track down the
        [counterfeit] sellers, but almost all of the sellers had given false names when setting up their
        Amazon seller accounts, and the addresses they gave turned out to be bogus as well[.]”).


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         official report that Alibaba sees itself as above the law in China and feels no
         need to follow it.31 MNCs have long suspected that Alibaba tolerates or
         encourages counterfeiting on its sites.32 Brand owners have persistently
         complained that Alibaba and Amazon appear reluctant to assist brand owners
         in tracking down counterfeiters and create unnecessary bureaucratic and
         technical hurdles in the detection of counterfeiters.33 Some brand owners
         have attributed these difficulties to an economic motive: e-commerce
         platforms earn revenue through sales, including sales of counterfeit goods.34
         In the case of Alibaba, brand owners have long suspected that it tolerates or
         supports counterfeiting and these sentiments have been confirmed by official
         statements by PRC enforcement authorities. According to PRC officials,
         Alibaba’s attitude towards the law and enforcement authorities is marked by
         a fundamental “arrogance.”35 In China, it is not unusual for powerful entities
         to view themselves as above the law.36 The Communist Party, the most
         powerful entity of all, sees the law as a mere instrument to be used to serve
         the ends of the Party.37 Alibaba is not intimidated by or fearful of law
         enforcement authorities; to the contrary, Alibaba sees itself as more powerful
         than government law enforcement authorities and answerable only to the
         Party.38 For these reasons, MNCs must accept the reality that Alibaba, in the
         words of PRC officials, tolerates and supports counterfeiters in order to
         protect its revenues from sales of counterfeit goods and that it will likely take
         an intervention by the Party at its highest levels to effect meaningful change
         in Alibaba’s conduct. Any plan to stem the sales of counterfeits on Alibaba’s
         platform that requires Alibaba’s active participation must proceed with the
         assumption that it will be met with resistance or efforts that are half-hearted.
              Third, although the use of the Internet to sell counterfeits presents
         formidable new challenges to brand owners, this Article argues that simple
         and effective measures are available under PRC law to brand owners to deter

             31 See Gongshang Zongju (工商总局), Guanyu Dui Alibaba Jituan Jinxing Xingzheng

         Zhidao Gongzuo Qingkuang de Baipishu (关于对阿里巴巴集团进行行政指导工作情况的
         白皮书), translated in STATE ADMIN. OF INDUS. & E-COMMERCE, PEOPLE’S REPUBLIC OF
         CHINA, WHITE PAPER ON ALIBABA GROUP HOLDINGS ADMINISTRATIVE GUIDANCE WORK
         SITUATION (2015) [hereinafter SAIC WHITE PAPER]. A partial English translation is available
         at Zheping Huang, The Chinese Government Has Erased a Damning Report on Alibaba, but
         You Can Read It Here, QUARTZ (Jan. 29, 2015), https://qz.com/335675/the-chinese-
         government-has-erased-a-damning-report-on-alibaba-but-you-can-read-it-here/. The SAIC
         White Paper is extensively discussed in Part II.B.
             32 See infra Part II.B.
             33 See infra Part III.A.
             34 See e.g., Pierson, supra note 13 (“Not only has [Amazon] avoided any serious backlash

         for allowing the sale of fake goods, it’s actually thrived from it, say more than two dozen
         brand owners, e-commerce consultants, attorneys, investigators and public policy experts.”).
             35 SAIC WHITE PAPER, supra note 31, at 20.
             36 See infra Part II.D.2.b.
             37 Id.
             38 Id.




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         many counterfeiters from using the Internet and to detect and identify those
         that do.39 This Article proposes and sets forth for the first time a set of simple
         and effective methods that MNCs can use to create effective deterrence to
         counterfeiting on the Internet.40 To the best of the author’s knowledge, no
         MNC, brand owner, or any professional or academic study has previously
         identified these methods, although they are openly available in plain sight in
         China’s legal system, and their use is required and regularly encouraged by
         PRC officials. Although certain aspects of China’s information technology
         industry, such as protection and enforcement of intellectual rights, are weak
         by comparison to the United States, other aspects of China’s information
         technology industry are far ahead of the United States.41 In particular, China’s
         obsessive need to exert pervasive control over and to monitor its citizens and
         all aspects of Chinese society have created the informational technology tools
         available to deter counterfeiters.42 In fact, Chinese government officials have
         urged Internet sites to use the tools available to control entry onto Internet
         sites and to monitor entities on the Internet.43 Brand owners, however, either
         do not trust PRC officials or understand the potential effectiveness of these
         tools.
               Unlike brick-and-mortar counterfeiters who need no permission to
         operate, counterfeiters must obtain a “pass” through a digital port of entry in
         order to obtain access to the Internet to sell their products.44 Operators of e-
         commerce platforms have the ability to exercise absolute control over entry.
         Controlling this point of entry through the use of tools created by the PRC
         government is the key to controlling counterfeiting on the Internet.
         Counterfeiters wish to operate in hiding and secrecy; they fear and detest
         transparency and accountability. E-commerce platforms can remove the
         anonymity of the Internet by following a straightforward registration system


            39   See infra Part III.
            40   Id.
             41 China is far ahead of the U.S. in the use of technologies, such as facial recognition, to

         closely monitor its citizens. See Zhou Jiaquan, Drones, Facial Recognition, and a Social
         Credit System: 10 Ways China Monitors Its Citizens, S. CHINA MORNING POST (Aug. 4, 2018),
         https://www.scmp.com/news/china/society/article/2157883/drones-facial-recognition-and-
         social-credit-system-10-ways-china.
             42 China closely monitors its citizens. Recently, China announced a “social credit” system

         in which the activities of each citizen will be ranked, and each citizen given a score evaluating
         the social merit of his or conduct. For a discussion on how China monitors its citizens, see
         Charlie Campbell, How China Is Using “Social Credit Scores” to Rewards and Punish Its
         Citizens, TIME (Jan. 16, 2019), https://time.com/collection/davos-2019/5502592/china-social-
         credit-score/.
             43
                 See infra Part III.
             44 Online vendors are required by e-commerce platforms to register before they are

         allowed to access the site. See e.g., Selling on Amazon: Frequently Asked Questions, AMAZON,
         https://services.amazon.com/selling/faq.htm (last visited July 1, 2019) (requiring a business
         name, address, and contact information among other information in order to open an Amazon
         seller account).


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         as required by PRC law.45 However, Alibaba does not faithfully apply the
         requirements of PRC law but instead is careless and loose in verifying entity
         registration.46 Brand owners also complain that Amazon has lax registration
         requirements and registers many entities with fictitious identities and
         addresses.47
               As a condition of gaining access to e-commerce sites, PRC law requires
         all vendors to submit a business license issued by PRC government
         authorities. These licenses have strict disclosure requirements that will reveal
         their true legal identities and locations in strict accordance with the detailed
         and specific information contained in official PRC government records and
         electronically on government websites to the public.48 To obtain this official
         business license, business operators must undergo a review and approval
         process by PRC government authorities over the legality and economic
         feasibility of their proposed business operations.49 Most counterfeiters will
         not wish to submit to such an approval process for fear of being detected and
         being subject to capture and prosecution. Those entities that do undergo this
         official review will then need to openly display their business licenses on the
         website In turn, counterfeiters will be unable to escape detection as brand
         owners will be able to bring suit directly against them.50
               A unique concept of PRC law is that each business entity must have a
         natural person who serves as its legal representative and who is subject to
         civil liability and criminal prosecution.51 The legal representative must be
         identified in the business license so brand owners will have a person in flesh
         and blood against whom they can directly file civil or criminal actions in
         China or in the United States if U.S. contacts exist.52 The faithful execution
         of these requirements should help brand owners to deter many counterfeiters
         from selling through Internet sites. Currently, however, brand owners do not
         insist on enforcement of these requirements and neither Alibaba nor Amazon
         faithfully follows PRC law on entity registration.53
               This Article will proceed as follows. Part II examines the background

            45  See infra Part III.
            46  See text accompanying notes 231-34 infra.
            47 See infra note 95.
            48 See Administrative Measures for Online Trading, art. 23 (promulgated by the State

         Admin. of Indus. & E-Commerce, Order No. 60, Jan. 26, 2014, effective Mar. 15, 2014),
         CLI.4.218557(EN), http://en.pkulaw.cn/display.aspx?id=16309&lib=law&EncodingName=
         big5. See also infra Part III.
            49 See infra Part III.
            50 Id.
            51 See General Principles of the Civil Law of the People’s Republic of China, ch. III, art.

         57 (promulgated by the Nat’l People’s Cong., Order No. 66, Mar. 15, 2017, effective Oct. 1,
         2017), translated by Whitmore Gray & Henry Ruiheng Zheng, General Principles of the Civil
         Law of the People’s Republic of China, 34 AM. J. COMP. L. 715, 726 (1986) [hereinafter
         General Principles of the Civil Law of the PRC].
            52 See infra Part III.
            53 Id.




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         of counterfeiting in China and how the advent of the Internet has propelled
         this illegal activity to new heights. The ability to transcend the physical
         limitations created by brick-and-mortar counterfeiting operations has created
         a vast new opportunity in cyberspace for counterfeiters who can now
         compete directly with genuine goods and vanish at the first sign of trouble.
         Part II also discusses brand owner concerns about Alibaba and Amazon. In
         the case of Alibaba, brand owners have long claimed that Alibaba tolerates
         or supports counterfeiting on its websites. A recent in-depth investigation and
         report by PRC national authorities not only confirms this suspicion but also
         sets forth the PRC government’s view that Alibaba sees itself as being above
         the law. Brand owners have also complained that Amazon is unresponsive to
         their concerns about counterfeits, requiring byzantine notice and takedown
         procedures that only add to brand owners’ misery. Part III examines the
         hurdles that brand owners claim that they face in attempting to work with
         Alibaba and Amazon in removing infringing webpages or postings from their
         sites; these frustrations are due to cumbersome notice and takedown
         procedures that can take months and tax brand owners through heavy costs
         in time, energy, and money. Part III then sets forth this Article’s proposed
         method of using existing online tools in the PRC to help create deterrents to
         counterfeiting on the Internet. These tools can be used to combat counterfeits
         on Alibaba and Amazon as well as on other e-commerce platforms. Part IV
         contains concluding observations.

         II. COUNTERFEITING AND THE INTERNET

         A. Brief Overview of Counterfeiting in China
              As early as 2000, China was described as having the most serious
         counterfeiting problem in world history.54 The origin of this problem can be
         traced to 1) China’s access to advanced technology (i.e. intellectual property)
         brought into China by MNCs that make foreign direct investments in China
         and 2) to China’s weak and developing legal system,55 which does not create
         effective deterrence for counterfeiters and infringers of intellectual property
         rights.56 Although U.S. companies have made many efforts through the first
         two decades of the twenty-first century to combat counterfeiting in China,
         China remains the largest source of counterfeits in the world. For example, a
         recent study cited in Forbes indicates that China produces 80% of the world’s
         counterfeits and that counterfeiting is now a $1.7 trillion per year industry.57

             54 Chow, supra note 1, at 3. The background and history of the rise of counterfeiting

         before the advent of the internet is set forth in this article. See infra Parts II.A & II.B.
             55
                DANIEL C.K. CHOW & THOMAS J. SCHOENBAUM, INTERNATIONAL BUSINESS
         TRANSACTIONS 537–38 (3d. ed. 2015).
             56 DANIEL C.K. CHOW & THOMAS J. SCHOENBAUM, INTERNATIONAL TRADE LAW 643 (3d.

         ed. 2017) (China’s weak legal system does not create effective deterrence.).
             57 Wade Shepard, Meet the Man Fighting America’s Trade War Against Chinese

         Counterfeits (It’s Not Trump), FORBES (Mar. 29, 2018), https://www.forbes.com/sites/wade


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         The U.S. General Accountability Office reports that in 2016, 88% of all
         seized counterfeit goods by the United States originated from China and
         Hong Kong.58 The European Union claims that China is the largest source of
         counterfeit goods sold into the EU.59 Counterfeiting is now the largest
         criminal enterprise in the world,60 and China is the epicenter of
         counterfeiting.61 The highest number of shipments of counterfeits seized
         around the world originates from East Asia, with China as the top source.62
              On April 3, 2019, the Trump Administration issued a Presidential
         Memorandum announcing that combatting counterfeiting and piracy had
         been elevated to a new level of priority for the United States.63 The
         memorandum specifically tasked the Justice Department and the Department
         of Homeland Security to focus on and investigate “online third party
         marketplaces.”64 This indicates a recognition by the United States that
         counterfeiting on e-commerce platforms is a specialized priority area of
         concern.

         B. The Advent of the Internet
              The rise of Internet sales platforms in the early 2000s created a valuable
         new opportunity for counterfeiters. To understand the significance of this
         development, it is necessary to recognize that there are two main components
         to counterfeiting: manufacturing and distribution.65
              The manufacturing of counterfeits tends to arise in proximity to the
         manufacturing of genuine goods.66 In the early 1990s, one of the first areas
         open to foreign investment in China was in the southern region of Guangdong
         Province, near Hong Kong. MNCs opened manufacturing facilities in special


         shepard/2018/03/29/meet-the-man-fighting-americas-trade-war-against-chinese-
         counterfeits/#321a1941c0d6.
             58 GAO REPORT, supra note 3, at 13.
             59 EUROPEAN COMM’N, EU SEIZURES AT THE BORDER OF GOODS INFRINGING ON

         INTELLECTUAL PROPERTY RIGHTS (2018), https://ec.europa.eu/taxation_customs/sites/
         taxation/files/factsheet_ipr_report_2018_en.pdf.
             60 See Shepard, supra note 57 (“The trade in counterfeit and pirated goods is currently at

         $1.7 trillion . . . and is expected to grow to $2.8 trillion and cost 5.4 million jobs by 2022.”).
             61 See id. See also EUROPEAN COMM’N, supra note 59 (reporting that China and Hong

         Kong, together, accounted for over 83% of counterfeit goods).
             62 OECD & EUROPEAN UNION INTELLECTUAL PROP. OFFICE, TRADE IN COUNTERFEIT AND

         PIRATED GOODS: MAPPING THE ECONOMIC IMPACT 49 (2016), http://dx.doi.org/10.1787/
         9789264252653-en.
             63 Memorandum on Combatting Trafficking in Counterfeit and Pirated Goods, Section 1

         (Apr. 3, 2019), https://www.whitehouse.gov/presidential-actions/memorandum-combating-
         trafficking-counterfeit-pirated-goods/.
             64 Id.
             65 Daniel C.K. Chow, Organized Crime, Local Protectionism and the Trade in

         Counterfeit Goods in China, 14 CHINA ECON. REV. 473, 474 (2003).
             66 Id.




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         economic zones that created financial incentives for investment.67 Soon after
         these facilities were established, the brand owners found that counterfeits
         began to appear in the same locations.68 MNCs discovered that employees
         working in their facilities or their relatives, friends, or associates had begun
         to use the know-how that they acquired from the MNC to establish their own
         manufacturing operations in order to produce counterfeits.69
               A counterfeiter that has manufactured a fake good must then sell it to
         consumers. The illegal factory may be located far away from densely
         populated urban areas where large numbers of consumers are found, so the
         counterfeiter must find a distribution channel for the goods to reach the end-
         use consumer. Distribution is the second major component of counterfeiting.
               Prior to the rise of the Internet, counterfeiters faced a problem:
         legitimate distributors would have nothing to do with counterfeits.70 MNCs
         distribute their products in China only through qualified distributors that are
         able to sell to high-end state-owned department stores and other retail outlets
         in high-end shopping centers.71 Qualified distributors are those entities that
         are able to pass a stringent set of criteria established by brand owners.72 These
         distributors will not work with counterfeiters for fear of losing their contracts
         with legitimate brand owners, and, as a result, counterfeiters are unable to
         penetrate into legitimate distribution channels to reach high-end retailers.73
         Rather, counterfeiters had to rely on brick-and-mortar wholesale distributors
         of lesser and questionable repute who would be willing to sell counterfeits,
         smuggled goods, and inferior quality products.74 These wholesale distributors
         are found in markets in China that are either enclosed or open air spaces with
         hundreds or thousands of wholesale vendors.75 Retailers appear at these
         wholesale markets with trucks or vans to transport the counterfeits purchased
         at these markets.76 Large reputable retailers, such as state-owned department
         stores, do not buy at these wholesale markets.77 Only retailers that are small
         mom and pop stores, street stalls, or open air vendors in China will purchase
         from these markets.78 This left the counterfeiter with the problem that it could


            67 Id.
            68 See id. at 474–75.
            69 This observation is based upon the author’s own experience working as in-house

         counsel for an MNC with major operations in China. It is a pattern that is repeatedly occurs in
         China: counterfeiting tends to arise in locations with legitimate manufacturing operations.
            70 See Chow, supra note 65, at 476.
            71 Id.
            72 Id.
            73 Id.
            74 See id. at 476–77.
            75 Id. at 476.
            76 See Chow, supra note 65, at 476.
            77 Id.
            78 Id.




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         almost never penetrate into high-end retail stores.79 Purchasers of
         counterfeits would have to travel to side streets, back alleys, and other areas
         in less desirable urban locations to buy counterfeits from small and less
         reputable retailers.80 The need to travel to unsavory locations deterred many
         consumers.
               In the United States, counterfeits are also unable to penetrate into
         legitimate distribution channels to reach large department stores or other
         large retailers.81 Counterfeits are almost never found in large chain stores
         such as Costco, Target, or Walmart. These companies either use qualified
         distributors or have vertically integrated business models that allow them to
         control distribution themselves.82 These distributors refuse to deal in
         counterfeits, smuggled goods, or gray market goods.83 Only less reputable
         distributors will deal in these secondary goods, but they do not sell to large
         and high end retailers who refuse to deal with them.84 These distributors sell
         to discount stores, small mom-and-pop stores, street vendors, or private
         persons who arrange for sales through word of mouth.85The advent of the
         Internet has now given counterfeiters what they have long sought: a
         legitimate and broad-reaching distribution channel to reach retail consumers
         who are now able to purchase products without having to travel to specific
         and undesirable locations where counterfeits are sold. Counterfeiters can now
         place their products on the Internet to reach consumers worldwide and are no
         longer confined to using illegal wholesale markets to reach lower retail
         quality stores. While in the past, consumers would not encounter counterfeits
         on the next shelf adjacent to authentic goods in brick and mortar stores
         because high end retailers refused to deal with distributors of counterfeit
         goods, the same is no longer true on the Internet. It is now possible for
         counterfeits to be on the digital shelf next to genuine goods on the same or
         an adjacent webpage.86 Counterfeits can now compete directly with genuine
         goods.87 Counterfeiters can also use false digital images that hide the low

            79   Id.
            80   Id.
             81 This observation is based on the author’s own experience as an expert witness in U.S.

         litigation involving U.S. multinational companies in cases involving counterfeits from China.
             82 Id.
             83 Gray market goods (sometimes also called parallel imports) are genuine goods that are

         intended for sale in a foreign market but that are purchased abroad and shipped back to the
         home market. For example, genuine goods that are sold by the manufacturer to Japan are
         purchased by a foreign distributor in Japan who then resells them to an importer in China. The
         foreign distributor is able to take advantage of a lower price in Japan or favorable currency
         exchange rates in order to sell the products in China at a price that is lower than the genuine
         goods are sold directly by the manufacturer to buyers in China. See CHOW & SCHOENBAUM,
         supra note 55, at 567-68.
             84 See Chow, supra note 65, at 476.
             85 Id.
             86 See GAO REPORT, supra note 3, at 11.
             87 Id. (“In the past, consumers could often rely on indicators such as appearance, price, or




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         quality of their goods in competition with genuine goods.88
               The rise of counterfeits coincides with shifts in consumer habits. In June
         2000, approximately 22% of U.S. consumers purchased goods online, but by
         December 2016 that portion had risen to 79%.89 By 2020, worldwide e-
         commerce sales are expected to reach $4 trillion, and e-commerce is expected
         to reach nearly 15% of global retail spending by 2020.90
               Prior to the advent of the Internet, counterfeiters in China that sought to
         sell their goods in the United States loaded the goods in large shipping
         containers with false documentation to transport the goods by ocean carriage
         to a port in the United States.91 While detection was difficult, if a brand owner
         had reliable specific intelligence of an illegal shipment,92 customs authorities
         in the United States would open and inspect the container.93 With Internet
         sales, thousands or hundreds of thousands of small, individual packages are
         now shipped to the United States by mail, making it nearly impossible to
         detect and stop these shipments.94
               Not only do e-commerce platforms allow counterfeiters unprecedented
         access to end use consumers, counterfeiters are also able to take advantage
         of the anonymity of the internet to evade capture and detection by using false
         identities, business names, and locations.95 The Internet has created an
         irresistible new opportunity for counterfeiters and has opened vast new
         avenues for generating profit.

         C. Liability Regimes for Internet Service Providers
              Under the Digital Millennium Copyright Act (DMCA)96 in the United

         location of sale to identify counterfeit goods in the marketplace, but counterfeiters have
         adopted new ways to deceive customers.”).
             88 Id. Cf. id. (“The physical appearance of counterfeit goods may no longer serve as a ‘red

         flag’ for consumers that the good they are considering purchasing is not genuine. Counterfeit
         goods and their packaging are becoming more sophisticated and closely resemble genuine
         goods[.]”).
             89 Id. at 12.
             90 Id.
             91 See Chow, supra note 65, at 475.
             92 Such intelligence can be gathered through the use of private investigation companies

         that penetrate counterfeit rings. A number of companies, such as Kroll and Pinkerton,
         specialized in these investigations.
             93 The author was involved as an attorney in a counterfeiting case in the United States in

         which U.S. Customs authorities stated that they would be willing to conduct an inspection of
         shipping containers but only on the basis of reliable specific information.
             94 See Pierson, supra note 13 (“Customs agents had a fighting chance when pirated goods

         predominantly arrived in cargo containers. But with the rise of e-commerce, counterfeiters and
         their middlemen can ship goods in parcels too innumerable to catch.”).
             95 See id. (“[B]rands say the same fraudsters keep showing up under different names[.]”);

         Semuels, supra note 15 (“Milo and Gabby tried to track down the [counterfeit] sellers, but
         almost all of the sellers had given false names when setting up their Amazon seller accounts,
         and the addresses they gave turned out to be bogus as well[.]”).
             96 17 U.S.C. § 512 (Westlaw through Pub. L. No. 116-68). DMCA implements two World




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         States and similar provisions in China,97 Internet service providers (ISPs) are
         not directly liable for the sale of counterfeits listed on their sites by third-
         party vendors.98 While ISPs may be subject to vicarious liability for
         facilitating the sales, DCMA provides a “safe harbor.”99 ISPs are entitled to
         immunity from vicarious liability for third-party listings and sales of
         counterfeit goods if they have no knowledge of the infringing material and
         remove it expeditiously upon receiving notice of its illegal nature.100 To
         implement DCMA and the corresponding PRC law, e-commerce companies
         such as Alibaba and Amazon have set forth internal notice and takedown
         procedures that brand owners are required to follow when they find
         infringing material.101 As detailed in a later section, brand owners often
         complain that these procedures are cumbersome, time consuming, and
         ineffective.102

         D. Alibaba

         1. Brand Owner Concerns
              Alibaba is currently the world’s largest e-commerce platform in the
         world.103 In 2016, Alibaba’s Internet marketplaces in China had 423 million

         Intellectual Property Organization (WIPO) treaties: the WIPO Copyright Treaty and the WIPO
         Performances and Phonograms Treaty. WIPO Copyright Treaty, Dec. 20, 1996, 112 Stat.
         2861, 2186 U.N.T.S. 121; WIPO Performances and Phonograms Treaty, Dec. 20, 1996, 112
         Stat. 2861, 2186 U.N.T.S. 203. As of 2007, the United States and the People’s Republic of
         China are now contracting parties to both treaties. Contracting Parties – WIPO Copyright
         Treaty, WIPO, https://www.wipo.int/treaties/en/ShowResults.jsp?lang=en&treaty_id=16
         (last visited July 1, 2019); Contracting Parties – WIPO Performances and Phonograms
         Treaty, WIPO, https://www.wipo.int/treaties/en/ShowResults.jsp? lang=en&treaty_id=20
         (last visited July 1, 2019).
             97 See generally Trademark Law of the People’s Republic of China (promulgated by the

         Nat’l People’s Cong., adopted Aug. 23, 1982, most recently revised Apr. 23, 2019, effective
         Nov. 1, 2019); Law Against Unfair Competition of the People’s Republic of China
         (promulgated by the Nat’l People’s Cong., Order No. 10, Sept. 2, 1993, revised Nov. 4, 2017,
         amended Apr. 23, 2019).
             98 See 17 U.S.C. § 512(c)(1).
             99 Id. See generally Susanna Monseau, Fostering Web 2.0 Innovation: The Role of the

         Judicial Interpretation of the DMCA Safe Harbor, Secondary Liability and Fair Use, 12 J.
         MARSHALL REV. INTELL. PROP. L. 70 (2012).
             100 See 17 U.S.C. § 512(c)(1).
             101 See Intellectual Property Policy for Sellers, AMAZON, https://sellercentral.

         amazon.com/gp/help/external/201361070 (last visited July 1, 2019); Intellectual Property
         Rights (IPR) Protection Policy, ALIBABA, https://rule.alibaba.com/ rule/detail/2049.htm (last
         visited July 1, 2019).
             102
                 See infra Part III.
             103 Comment Submitted by Eric Pelletier, Vice President of Alibaba, to the Honorable

         Probir Mehta, Assistant United States Trade Representative re: 2016 Special 301 Out-of-Cycle
         Review Notorious Markets (Docket Number USTR-2016-2013), at 2 (Oct. 7, 2016),
         https://www.alizila.com/wp-content/uploads/2016/10/P-Alibaba-Group-Comments-for-
         2016-Notorious-Markets-Report-2_FINAL_compressed.pdf?x95431 (last visited Nov. 25,


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         active purchasers with a combined gross merchandise volume (GMV) of
         $485 billion.104 In 2018, in the span of just two years, active purchasers in
         China grew to 636 million and GMV grew to exceed $768 billion,105 creating
         the prospect that Alibaba’s users may soon surpass one billion and its GMV
         may soon surpass $1 trillion, numbers that seemed almost inconceivable just
         a decade ago. In 2015, package delivery from Alibaba’s e-commerce
         platform in China averaged thirty million per day.106 The sheer size and scope
         of Alibaba’s operations dwarfs even that of its closest competitors. For
         example, Alibaba’s GMV in 2018 at $768 billion is more than three times
         that of Amazon, the world’s second e-commerce platform, at $239 billion.107
               From Alibaba’s earliest days of operation, back in 1999, MNCs have
         claimed that counterfeits are abundantly available on Alibaba’s websites.108
         Frustrated with the lack of results in China, U.S. companies have raised these
         concerns with the U.S. government and, as a result, Alibaba has been
         repeatedly placed on U.S. government blacklists. Despite its many claims
         that it is implementing new changes to effectively combat counterfeiting on
         its websites, Alibaba was first placed on the Out-of-Cycle Notorious Markets
         List in 2011109 and sought to remove itself from the list in anticipation of its
         initial public offering (IPO) in the United States in 2014. Although Alibaba
         was dropped from the 2012 list,110 Alibaba found itself once again on the




         2019).
            104 Id.
            105 Press Release, Alibaba Group Announces December Quarter 2018 Results (Jan. 30,
         2019), https://www.alibabagroup.com/en/news/press_pdf/p190130.pdf.
            106 Jen Wieczner, Alibaba: Here’s Why Our Mind-Blowing Numbers Are Real, FORTUNE

         (Sept. 23, 2015), https://fortune.com/2015/09/23/alibaba-says-numbers-real-not-fake/.
            107 Adam Levy, The 7 Largest E-Commerce Companies in the World, THE MOTLEY FOOL

         (Dec. 26, 2018), https://www.fool.com/investing/2018/12/26/the-7-largest-e-commerce-
         companies-in-the-world.aspx.
            108 See, e.g., Alibaba and the 2,236 Thieves: An Online-Fraud Scandal in China, THE

         ECONOMIST (Feb. 22, 2011), https://www.economist.com/newsbook/2011/02/22/alibaba-and-
         the-2236-thieves;
            109 OFFICE OF U.S. TRADE REPRESENTATIVE, 2011 OUT-OF-CYCLE REVIEW OF NOTORIOUS

         MARKETS 3 (Dec. 20, 2011), https://ustr.gov/sites/default/files/uploads/gsp/speeches/reports/
         2011/Notorious%20Markets%20List%20 FINAL.pdf (discussing Alibaba’s subsidiary site
         Taobao.com).
            110 Doug Palmer, U.S. Drops China’s Taobao Website from “Notorious” List, REUTERS

         (Dec. 13, 2012), https://www.reuters.com/article/net-us-usa-trade-piracy/u-s-drops-chinas-
         taobao-website-from-notorious-list-idUSBRE8BC1IG20121213.


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         Notorious Markets list in 2014111, 2016112, 2017113, and 2018114. Furthermore,
         in 2016, a group of 17 international trade associations reiterated their
         concerns in a letter to USTR, stating:
               During the ten months since USTR published [the 2015 USTR Special
               301 Notorious Markets Report] we have seen little evidence that there
               has been any noticeable change on the Alibaba platforms themselves;
               and at any given moment, a consumer around the world can chose
               from hundreds of thousands of counterfeit clothes, shoes, travel
               goods, handbags, toys, auto parts, jewelry, watches, furniture,
               electronics, pharmaceuticals, and other articles.115

              Many brand owners have concluded that Alibaba, despite its
         protestations to the contrary, actually tolerates and supports counterfeiting on
         its websites because Alibaba earns revenues from all sales, including sales of
         counterfeit goods. Labelling Alibaba as “our most dangerous and damaging
         adversary,”116 one brand owner stated:
               Alibaba’s strategy has consistently been to provide lip service to
               supporting brand enforcement efforts while doing as little as possible
               to impede the massive flow of counterfeit merchandise on its
               platforms.117


             111 OFFICE OF U.S. TRADE REPRESENTATIVE, 2014 OUT-OF-CYCLE NOTORIOUS MARKETS

         LIST 8 (Mar. 5, 2015), https://ustr.gov/sites/default/files/2014%20Notorious%20Markets
         %20List%20-%20Published_0.pdf (discussing Alibaba’s subsidiary site Taobao.com).
             112
                 OFFICE OF U.S. TRADE REPRESENTATIVE, 2016 OUT-OF-CYCLE NOTORIOUS MARKETS
         LIST 12–13 (Dec. 2016), https://ustr.gov/sites/default/files/2016-Out-of-Cycle-Review-
         Notorious-Markets.pdf (discussing Alibaba’s subsidiary site Taobao.com).
             113 OFFICE OF U.S. TRADE REPRESENTATIVE, 2017 OUT-OF-CYCLE NOTORIOUS MARKETS

         LIST 20–23 (Jan. 11, 2018), https://ustr.gov/sites/default/files/files/Press/Reports/
         2017%20Notorious%20Markets%20List%201.11.1 8.pdf (discussing Alibaba’s subsidiary
         site Taobao.com).
             114 OFFICE OF U.S. TRADE REPRESENTATIVE, 2018 OUT-OF-CYCLE NOTORIOUS MARKETS

         LIST 26–27 (Jan. 11, 2018), https://ustr.gov/sites/default/files/2018_Notorious Markets_
         List.pdf (discussing Alibaba’s subsidiary site Taobao.com).
             115 Comment Submitted AFL-CIO et al. to the Honorable Probir Mehta, Assistant United

         States Trade Representative re: 2016 Special 301 Out-of-Cycle Review Notorious Markets
         (Docket Number USTR-2016-2013), at 2 (Oct. 26, 2016), https://www.mema.org/sites/
         default/files/resource/Multi-Org%20Letter%20on%20Alibaba%20102616.pdf.
             116 Letter from Lee S. Sporn of Michael Kors (USA), Inc. to Bob Barchiesi, President,

         International Anti-Counterfeit Coalition (IACC), at 2 (Apr. 21, 2016) [Hereinafter Letter from
         Lee S. Sporn]. See Erika Kinetz, Some Howl Over Alibaba’s Place in Anti-Counterfeiting
         Group, ASSOC. PRESS (May 5, 2016), https://www.apnews.com/2c9381cb0c2841aba956abe
         f1a3005b3.
             117 Letter from Lee S. Sporn, supra note 116, at 2. See Kathy Chu, Brands Voice Doubts

         After Alibaba Joins Group Fighting Fake Goods, WALL ST. J. (Apr. 28, 2016),
         https://www.wsj.com/articles/brands-voice-doubts-after-alibaba-joins-group-fighting-fake-
         goods-1461763178.


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         a. Alibaba’s Defense of Counterfeits
              Many brand owners’ skepticism about Alibaba’s sincerity in combatting
         counterfeiting can be attributed to statements made by its Chairman and
         founder, Jack Ma, that defend counterfeiting. In responding to criticism by
         luxury brands about the sale of counterfeits on Alibaba, Ma made clear his
         position in 2015. A commentator observed:
                  The longer Ma talks, the more it’s clear where his sentiments fall. The
                  second-richest man in China thinks the very idea of luxury retail—
                  selling belts and accessories and the like for thousands of dollars—is
                  inherently absurd. “How can you sell Gucci or whatever branded bag
                  for so much money? It is ridiculous,” he says. “I understand the
                  branded companies are not happy, but I also say that’s your business
                  model. You have to check your business model, too.”118

                  The following year, in a speech at Alibaba’s headquarters, Ma stated:
                  The problem is the fake products today are of better quality and better
                  price than the real names. They are exactly the [same] factories,
                  exactly the same raw materials but they do not use the names.119

               These statements suggest that Ma believes that there is a normative
         justification for Alibaba’s support of counterfeits. Ma believes luxury brands
         like Gucci are inviting unauthorized copies by charging prices so high that
         they are “absurd.” Alibaba sees itself as helping out small-time sellers that
         sell counterfeits or infringing products to lift themselves into the middle
         class. Jack Ma and Alibaba take on a modern “Robin Hood” persona. Just as
         the fictional Robin Hood robbed from the rich to give to the poor, Alibaba is
         assisting small-time Chinese sellers to take a free ride on the goodwill of
         luxury brands owned by MNCs that have invited counterfeiting through their
         greed, avarice, and attempts to gouge vulnerable Chinese consumers. China’s
         consumers also benefit from having access to fakes that are “of better quality
         and better price than thee real names.”120 Ma’s position may help Alibaba to
         further gain popularity in China by enhancing Ma’s reputation as a true
         national hero and great patriot of China, but it also infuriates brand owners.121



            118  Michael Schuman, Why Alibaba’s Massive Counterfeit Problem Will Never Be Solved,
         FORBES (Nov. 4, 2015), https://www.forbes.com/sites/michaelschuman/2015/11/04/alibaba-
         and-the-40000-thieves/#31848fd729dc.
             119
                 Charles Clover, Alibaba’s Jack Ma Says Fakes Are Better Than Originals, FIN. TIMES
         (June 14, 2016), https://www.ft.com/content/6700d5cc-3209-11e6-ad39-3fee5ffe5b5b.
             120 Id.
             121 See Letter from Lee S. Sporn, supra note 116. When Alibaba was accepted as a member

         of the International Anti-Counterfeiting Coalition, Sporn, who represents Michael Kors, a
         fashion house, resigned in protest. Chu, supra note 117.


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         b. Counterfeits for Sale on Alibaba
               To test the claims of brand owners that counterfeits are found in
         abundance on Alibaba’s sites, the author recently did a search of Alibaba
         sites and immediately found many examples of counterfeits and infringing
         products. Photographs of the webpages containing three of these examples
         are set forth in the Appendices. These examples are discussed below, but
         there are other examples on this site that are too numerous to discuss within
         the confines of this Article.
               (a) Appendix 1 is an advertisement for handbags being sold under a
               “big brand name” (“Da Pai”) called “Gucci Guccio.” These handbags
               copy the design and trade dress of Gucci handbags and use the name
               “Gucci” as part of their brand name.122 Gucci was singled out by
               Alibaba Chairman Jack Ma as a luxury brand owner selling its
               products at absurdly high prices.123 The advertised price for these
               products is 1500 Renminbi (“people’s currency” or RMB, the Chinese
               fiat currency). At the currency exchange rate of 1 RMB to 0.15 U.S.
               dollar, this price is the equivalent of about $225 U.S. dollars. On
               Gucci’s website in the United States, genuine Gucci bags similar to
               the ones advertised on Alibaba sell for over $2000 U.S. dollars with
               some bags selling for as much as $7500.124 It is highly unlikely for a
               genuine Gucci handbag of the type in this advertisement to sell for
               $225. It is also highly unlikely that these types of prices can be
               charged for gray market goods.125 In addition, nothing in the
               advertisement indicates that these are second hand or used goods.
               Chinese consumers have an aversion to purchasing secondhand goods
               due to cultural reasons, and Chinese merchants are well aware of
               consumers’ dislike of secondhand goods.126 It is highly likely that the
               products advertised in the attached Alibaba webpage are counterfeits.
               (b) Appendix 2 is an advertisement for a 700 ml bottle of Hennessy

             122 The author was told by an associate in China that Alibaba did not consider “Gucci

         Guccio” to be an infringing or counterfeit use because the name “Gucci” did not appear alone
         but was accompanied or modified by another name as part of the product’s brand name. Only
         the unauthorized use of a trademark such as Gucci appears alone would be considered an
         infringing use.
             123 See infra text accompany note 117.
             124 Women’s      Handbags, GUCCI, https://www.gucci.com/us/en/ca/women/womens-
         handbags-c-women-handbags/1 (last visited July 1, 2019).
             125 While prices for gray market goods are usually lower than prices for genuine goods

         intended for the home market, the price differential would not be as great as that set forth in
         the case of the handbags in Appendix 1, i.e. it would be highly unlikely that a genuine handbag
         that sold for approximately $2,000 to $7,500 in Japan could be sold as a gray market good in
         China for $225. CHOW & SCHOENBAUM, supra note 55, at 567.
             126 See Yiling Pan, Why the Second Hand Luxury Market isn’t Thriving in China, JING

         DAILY (Aug. 24, 2017), https://jingdaily.com/what-blocks-secondhand-luxury-market-
         thriving-in-china/ (last visited July 12 2019) (Chinese consumers “still prefer to purchase new
         luxury goods and look down on the value of second-hand goods”).


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               XO cognac with an advertised price of 432 RMB or $65. A similarly
               sized bottle (750 ml) sells for approximately $160 in the United
               States.127 It is highly likely that the bottle sold on the Alibaba website
               is a counterfeit.
               (c) Appendix 3 is an advertisement for fashion workout pants made
               by Abercrombie and Fitch, based in Columbus, Ohio, selling at a price
               of 80 RMB or $12. Based on the photograph and the author’s
               experience in tracking counterfeiters in the consumer products
               industry, it is apparent that these products are of low quality and are
               inferior to what Abercrombie and Fitch would sell in retail stores. By
               comparison, Appendix 4 includes a photograph of a similar
               Abercrombie and Fitch product from its website that sells for $58.128
               These facts indicate that it is highly likely that the product advertised
               on the Alibaba website is a counterfeit.

              To understand why brand owners view examples such as these as threats
         to their business, it is necessary to realize that in China (as in many other
         countries) there is a huge appetite for counterfeit goods, and many consumers
         actively search for and buy counterfeits.129 The vast majority of consumers
         in China who visit the webpages for the products described in the examples
         above are fully aware that these are counterfeit goods, but these consumers
         are actively seeking these goods.130 In the case of counterfeit Gucci handbags
         and counterfeits of other famous brand names, consumers are actively
         seeking to buy cheap imitations of the famous brand that they can purchase
         for a tenth or less than the genuine product.131 These consumers want the
         prestige of the brand, trademark, or trade dress and are not concerned about
         the quality of the actual merchandise itself.132 So long as the product has the
         trademark or trade dress, the purchaser of the counterfeit is able to enjoy the

             127 Hennessy Cognac XO, WINE CHATEAU, https://www.winechateau.com/products/

         hennessy-cognac-xo (last visited July 1, 2019).
             128 See Appendix 4 infra.
             129 Jay Kennedy, Commentary: More Buying Counterfeits and Knockoff - It’s Costing

         Billions and More (May 12, 2019), CHANNEL NEWS ASIA, https://www.channelnews
         asia.com/news/commentary/more-buy-knock-off-counterfeit-fake-goods-branded-drug-
         crime-11499382 (noting that “there are many consumers who willingly buy counterfeit
         goods”). See also The Counterfeit Goods Industry in Modern China (April 15, 2019), DAXUE
         CONSULTING, https://daxueconsulting.com/counterfeit-products-in-china/ (noting that “the
         market for fake goods in China is largely driven by consumers who actively search for and
         purchase counterfeit products”).
             130 This observation is based on the author’s own experience in China. See Liz Robbins,

         Investigators Seize Fake Luxury Goods, N.Y. TIMES (Aug. 16, 2018),
         https://www.nytimes.com/2018/08/16/nyregion/fake-luxury-goods-handbags.html.
             131 This observation is based on the author’s work with private investigation companies

         tracking counterfeiters in China.
             132 See DANIEL C.K. CHOW & EDWARD LEE, INTERNATIONAL INTELLECTUAL PROPERTY:

         PROBLEMS, CASES, AND MATERIALS 784 (3d ed. 2017) (consumers will knowingly purchase
         fake luxury goods).


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         good will associated with the brand name or trademark.133 In China today (as
         in many other countries), there is an enormous demand for counterfeit luxury
         branded handbags that offer the prestige of the genuine brand at a fraction of
         the price of the genuine product.134
                The same is true with counterfeit liquor as shown in example (b) above.
         Consumers in China who purchase counterfeit bottles of famous brand name
         liquor are not in general buying the liquor for private or personal
         consumption.135 In China, for personal or professional reasons, people often
         have banquets or dinners where highly alcoholic drinks are served and
         consumed in large quantities as part of social drinking rituals.136 It is a mark
         of prestige for a host to serve a famous foreign brand of liquor, such as a
         French made cognac like Hennessy or a western brand of whiskey such as
         Johnny Walker Black Label.137 There is a huge demand for this type of
         counterfeit liquor, where the counterfeiter uses a bottle that is either a copy
         or a genuine used bottle and fills it with a cheap but potent liquor.138 The host
         can enjoy the good will of serving his guests a high prestige brand while only
         paying for a common liquor that, while inexpensive, is just as potent but is
         not contaminated or harmful to the guests.
                In the case of (c), young adults in China are highly fashion-conscious
         and are hungry for famous international brands.139 Most consumers viewing
         the webpage with Abercrombie and Fitch pants selling for $12 are fully
         aware that these are counterfeits and that the product is of low quality. They
         reason, however, that they can pay about the same price for a low-quality
         product without the prestige of the counterfeit Abercrombie label or pay a
         little bit more for the same low-quality product but enjoy the prestige of the
         Abercrombie brand name. Many consumers will choose the latter.140


            133  Id.
            134  Id.
             135 These observations about the use of alcohol in China are based upon the author’s own

         experience and based on discussions with colleagues and associates.
             136 See Nathan H. Gray, “Gan Bei”: Business and Ritualistic Drinking in China, WORD

         PRESS (Apr. 22, 2010), https://nathanhgray.wordpress.com/2010/04/22/gam-bei-business-
         and-ritualistic-drinking-in-china/ (discussing the importance of drinking rituals).
             137 See Jiani Ma, Rich Post-80s Drive Chinese Whiskey Market Growth, JING DAILY (Apr.

         16, 2018), https://jingdaily.com/chinese-whiskey-market/ (noting the demand for premium
         and super premium brands of whiskey and cognac in China).
             138 Natalie Wang, Nearly 40% of Chinese Consumers Admit to Purchasing Fake Booze,

         THE DRINKS BUS. (Mar. 19, 2018), https://www.thedrinksbusiness.com/2018/03/nearly-40-
         chinese-consumers-admit-to-purchasing-fake-booze/ (noting that consumers admit to
         intentionally purchase fake booze in China).
             139 See e.g., Luxury Brands Tailor Their Marketing to Asian Millennial Consumers, THE

         FASHION LAW (Aug. 7, 2018), http://www.thefashionlaw.com/home/luxury-brands-tailor-
         their-marketing-to-millennial-consumers-in-the-far-east.
             140 This observation is based upon the authors’ experience in investigating counterfeit

         consumer products in China.


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         2. Alibaba’s “Arrogance” and Illegal Activities
              While MNCs have consistently complained about Alibaba’s tacit
         approval and support of counterfeiting, these sentiments were recently
         confirmed for the first time by enforcement authorities in China in connection
         with an extraordinary national level investigation of Alibaba. The State
         Administration of Industry and Commerce (SAIC) and its local branches
         (AICs) are charged with maintaining orderly markets in the PRC and are
         primarily responsible for stemming the flow of counterfeit goods.141 In the
         case of Alibaba, the SAIC took the unprecedented step of conducting an
         administrative guidance meeting with Alibaba officials in July 2014.142 The
         Director of the SAIC emphasized the unique nature of the meeting when he
         stated, “For this meeting, I didn’t know whether it’s the first ever of its kind,
         or the last, but I hope that this would be the last time for a meeting of this
         nature.”143
              Enforcement actions are usually the provenance of local AICs as the
         SAIC, the central level authority, is a supervisory and policy-making body.144
         However, the SAIC believed that in the case of Alibaba, it was necessary for
         the agency to step in to resolve a case that had proven to be intractable to
         local authorities.145 In the administrative guidance meeting, the SAIC and
         appropriate local level AICs met with Alibaba officials in order to set forth
         an agreed upon set of steps to remediate counterfeiting on Alibaba
         platforms.146
              The administrative guidance meeting between the SAIC and Alibaba
         executives occurred on July 16, 2014,147 and on January 28, 2015, the SAIC
         issued a White Paper as a follow up to the meeting to formally set forth a


             141 State Administration of Industry and Commerce, IP CHANNEL (Feb. 9, 2010),

         http://ip.people.com.cn/ GB/152255/10960401.html.
             142 See Transcript of Administrative Guidance Meeting Between SAIC and Alibaba (held

         July 14, 2016) (on file with author) [hereinafter Transcript of Admin. Guidance Meeting];
         Huang, supra note 31 (“On July 16, 2014, the administrative guidance group of the Internet
         Supervision Department . . . held an administrative guidance forum at the Zhejiang Province
         Industry and Commerce Bureau. Principal officers and management teams of the core
         departments of Alibaba Group attended the meeting and accepted administrative guidance.”).
         See also Heather Timmons, Chinese Regulators Flagged Illegal Practices at Alibaba Months
         Before Its Monster IPO, QUARTZ (Jan. 28, 2015), https://qz.com/334863/chinese-regulators-
         flagged-illegal-practices-at-alibaba-months-before-its-monster-ipo/. Administrative guidance
         is governed by the SAIC’s Comprehensive Promotion of Administrative Guidance Work
         (2009).
             143 Transcript of Admin. Guidance Meeting, supra note 142, at 128.
             144
                 State Administration of Industry and Commerce, supra note 141 (“The [SAIC] . . . is
         the competent authority of ministerial level directly under the State Council in charge of
         market supervision/regulation and related law enforcement through administrative means.”).
             145 See SAIC WHITE PAPER, supra note 31, at 11–12.
             146 The steps were later summarized in the SAIC White Paper. Id. at 19.
             147 See id.; Huang, supra note 31.




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         plan of remediation.148 In both the transcript of the meeting and in the SAIC
         White Paper, the SAIC makes the point repeatedly that at the time of the
         meeting in July 2014 there were numerous counterfeits, infringing products,
         and other violations of Chinese laws on advertising, product information, and
         licensing on Alibaba’s websites.149
              However, the point being made by the SAIC White Paper and during
         the administrative guidance meeting is more subtle, and even more deep-
         seated, than the need to control persistent illegal activities. For example, the
         SAIC states:
               Alibaba Group, for a long time, has failed to take seriously the
               operational violations on its e-commerce platforms and did not take
               effective measures to address the violations. This caused a miniscule
               issue to snowball into a serious problem, leading Alibaba to its
               greatest crisis since its incorporation.150

               This critique is not directed at practices involving IP rights; it is directed
         at an underlying culture at Alibaba, which is one of viewing itself as above
         the law, including an attitude of a willful refusal to obey the law. At another
         point, the SAIC White Paper states:
               It is suspected that [Alibaba] knowingly, intentionally, by negligence
               or in spite of their presumed knowledge facilitates unlicensed
               operations, trademark infringements, untruthful publicity, pyramid
               schemes and violations of consumers’ rights.151

              The SAIC traces Alibaba’s flouting of the law to an attitude of
         “arrogance.”152 An AIC official at the July 16, 2014 meeting stated that when
         speaking to Alibaba employees, he felt “a kind of arrogant emotion sprouting
         and growing.”153 In its White Paper, the SAIC specifically tells Alibaba that
         it should “redress arrogance.”154 The SAIC informs Alibaba that it cannot
         expect to “receive special treatment under law. . . . Regulators . . . shall treat
         businesses equally under law.”155 The SAIC also admonishes Alibaba to
         “ethically conduct business” and warns that “[a]n enterprise shall not get


            148
                 See SAIC WHITE PAPER, supra note 31. The purpose of the White Paper is to provide
         “various understandings and information about the said administrative guidance meeting” to
         Alibaba. See id. at 11.
            149 Transcript of Admin. Guidance Meeting, supra note 142, at 3–8.
            150 SAIC WHITE PAPER, supra note 31, at 11–12 (emphasis added).
            151 Id. at 14.
            152
                 Id. at 20.
            153 Transcript of Admin. Guidance Meeting, supra note 141, at 117.
            154 SAIC WHITE PAPER, supra note 31, at 20.
            155 “No market player shall receive special treatment under law. The management of

         Alibaba family shall understand their bottom line. Regulators in the applicable jurisdiction
         shall treat businesses equally under law.” Id.


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         what it wants at its own will.”156 The SAIC additionally warns Alibaba that
         it cannot flout the law when it finds the law interferes with its interests and
         then assert the law when it needs the law’s protection despite acting without
         credibility or integrity.157
               Although the SAIC stood in the position of a government regulator at
         the meeting, it at times seemed to descend into the role of a sycophant
         flattering the Alibaba executives for the purpose of cajoling and pleading
         with them to respect the law. For example, at the administrative guidance
         meeting, AIC officials lavishly praised Alibaba, telling the executives how
         proud the PRC was of their accomplishment,158 mentioning that all of the
         Alibaba executives at the meeting were “famous people”159and “big
         shots,”160 and joking that the monthly salary of just one of the Alibaba
         executives were as much as the combined annual salaries of all the AIC
         officials present at the meeting.161

         a. Specific Practices
               Alibaba’s lack of respect for the law manifested in two practices that
         drew the SAIC’s special attention and were the focus of discussion during
         the administrative guidance meeting: taking bribery from the platform
         participants and colluding with the counterfeiters. The SAIC states that “a
         large number of Alibaba staffers take business bribes in exchange for giving
         platform participants [preferential business opportunities] to squeeze out
         their competitors.”162 While Alibaba was already aware of the bribery
         problem and took some steps to control it, the AICs stated that bribery was
         still a problem as of the July 16, 2014 administrative guidance meeting,163
         and an Alibaba vice president at the meeting acknowledged that “temptation
         from the outside” is a problem among the Alibaba staff.164 The SAIC also
         cited Alibaba employees’ active participation in misleading consumers and
         committing various consumer protection violations. For example, the SAIC

            156  Id.
            157  “An enterprise shall not get what it wants at its own will, i.e. when needing credibility
         to protect an enterprise’s interest, it boasts about credibility but throws the law away; when
         needing law to protect itself, it raises up high the flag of law but intentionally ignores its duties
         regarding credibility and integrity.” Id.
             158 Transcript of Admin. Guidance Meeting, supra note 141, at 13.
             159 Id. at 39.
             160 Id.
             161 Id. at 109.
             162 SAIC WHITE PAPER, supra note 31, at 16.
             163 Transcript of Admin. Guidance Meeting, supra note 141, at 9 (“The sixth problem is

         what was included in governance, that is, the commercial bribery existing among the staff of
         Taobao.com. Suppliers and users of the platform are all involved. You have realized this
         problem and tried to keep it under control. However, the situation still exists.”).
             164 Alibaba executive Xiaofeng Shao: “Recently, we have continued to improve the

         punishment system, even including the standards for our internal staff because this is also a
         big problem we face like the temptation from the outside.” Id. at 92.


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         notes that “[s]ome of the online shops, through the trading with others, delete
         negative comments, providing business information to themselves and others
         that disrupts normal business order . . . . But [Alibaba’s] supervision and
         punishment are not strict enough. There are staff in [Alibaba] involved in this
         violation.”165 A second set of practices involves Alibaba employees working
         together with counterfeiters, tipping the counterfeiters off to enforcement
         actions. For example, an SAIC official stated that in one instance the SAIC
         asked Alibaba for information about ten online stores suspected of selling
         counterfeits; although Alibaba provided the information, seven of the stores
         promptly closed, two cancelled their accounts, and one started to sell
         authentic products.166 The SAIC concluded that “[t]his indicated information
         disclosure by your company staff”167 to the counterfeiters. In another
         instance, the SAIC stated that after local AICs provided Taobao, an e-
         commerce platform owned by Alibaba, with information about their
         investigations, Taobao was suspected of tipping off counterfeiters and
         manufacturers of illegal narcotics.168
              The unlawful activities by Alibaba employees discussed at the
         administrative guidance meeting in July 2014 came just three years after a
         major scandal in 2011 that involved about 100 Alibaba employees, including
         supervisors and sales managers, who after an internal investigation were
         found to be directly responsible for allowing over 2,300 China Gold
         Suppliers to defraud international buyers.169 Long time CEO David Wei Zhe
         and COO Elvis Lee Shi Huei were forced to resign as a result of the
         scandal.170 According to news reports, Alibaba lost $933 million in market
         share due to the scandal.171 Three years after this scandal, according to the
         SAIC, numerous members of Alibaba’s staff continued to conduct illegal
         activities adding further to its perception of a culture of lawlessness at
         Alibaba.


            165  Id. at 10.
            166  Id. at 11.
             167 Id.
             168 SAIC WHITE PAPER, supra note 31, at 17.
             169 Pascal-Emmanuel Gobry, Huge Fraud at China E-Commerce Giant Alibaba.com:

         Management Out, 100+ Employees Dismissed, BUS. INSIDER (Feb. 21, 2011),
         https://www.businessinsider.com/alibaba-ceo-resigns-over-huge-fraud-scandal-2011-2;
         Kelvin Soh, Alibaba.com CEO Resigns After Jump in Fraudulent Sales, REUTERS (Feb. 21,
         2011),      https://www.reuters.com/article/us-alibaba/alibaba-com-ceo-resigns-after-jump-in-
         fraudulent-sales-idUSTRE71K1QA20110221 (“‘Members of our company’s senior
         management knew of a noticeable increase of fraud claims by global players against China
         Gold Supplier customers on the international marketplace that began in late 2009,’ Ma said in
         the statement.”).
             170 Gobry, supra note 169; Soh, supra note 169.
             171 Mark Lee, Alibaba Shares Tumble After Fraud Leads to CEO Departure, BLOOMBERG

         (Feb. 22, 2011), https://www.bloomberg.com/news/articles/2011-02-22/alibaba-comdown
         graded-by-morgan-stanley-after-ceo-wei-resigns.


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         b. Above the Law in China
               Alibaba’s “arrogance” needs to be understood in the context of China’s
         legal and political culture. In China today, it is not unusual for powerful
         entities to routinely disregard the law. In general, the more powerful an
         entity, the less compelled it feels to follow the law. Alibaba is among a
         handful of the most powerful entities in China. As a mundane example
         familiar to every citizen in China, cars registered to the People’s Liberation
         Army (“PLA”) do not obey traffic laws.172 Every car registered to the PLA
         has a special license plate. These cars will routinely drive through red lights,
         speed, and refuse to pay tolls. Under China’s current security systems, cars
         that drive through red lights are recorded by cameras stationed at every traffic
         stop, and letters containing fines are sent to transgressors. PLA cars,
         however, do not pay fines. No regular police officer with the Public Security
         Bureau will dare to stop a PLA car for a traffic violation, and no toll collector
         will dare to challenge a PLA car that refuses to pay the toll. This is a deeply
         embedded cultural attitude that starts at the top with the most powerful entity
         of all in Chinese society: the Communist Party, which views itself as above
         the law and views the law as a mere instrument for it to use to achieve its
         own ends.173 These Party attitudes will be familiar to Jack Ma, the chairman
         of Alibaba, who is also a member of the Communist Party,174 as are other
         senior Alibaba executives.175
               As noted earlier, Alibaba’s size is prodigious, and its financial power
         overwhelming.176 In China today, an entity that is as large and powerful as
         Alibaba does not believe that it needs to answer to lowly government
         enforcement officials. Alibaba executives, such as Chairman Jack Ma,
         himself a Communist Party member, and other senior Alibaba officials who
         are also Party members, believe that they do not answer to the law but only
         to the Party, the ultimate authority in China.177 One example of the close link
         between Alibaba and the Party is that Alibaba runs China’s new social credit
         system.178 Alibaba assigns a three digit score (from 350 to 950) to each
         citizen in China based on the social desirability of the citizen’s conduct,


            172    The author has witnessed these practices by the PLA firsthand in China.
            173    DANIEL C.K. CHOW, THE LEGAL SYSTEM OF CHINA IN A NUTSHELL 62 (3d ed. 2015):
         “[N]either Imperial China nor pre-reform modern China recognized or accept the rule of law
         . . . . [T]he Communist Party views itself as holding unchallenged authority. In modern China,
         the Communist Party is supreme.”
               174 Li Yuan, Jack Ma, China’s Richest Man Belongs to the Communist Party. Of Course.,

         N.Y. TIMES (Nov. 27, 2018), https://www.nytimes.com/2018/11/27/business/jack-ma-
         communist-party-alibaba.html.
               175 The author has personal knowledge that senior Alibaba officials are Party members

         from his current work as a legal expert in litigation involving China.
               176 See supra text accompanying notes 103–107.
               177 This observation is based upon the author’s own assessment and analysis.
               178 Campbell, supra note 42.




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         allowing the government to punish or reward its citizens.179 These close ties
         further suggest that Alibaba is not intimidated by and does not fear PRC
         enforcement authorities. For their part, PRC enforcement authorities are
         reluctant to shut down or seriously harm Alibaba because such actions will
         lead to significant financial losses for China and the possible demise of one
         of the world’s leading technology companies and a great source of national
         pride.180
              An indication of how Alibaba continues to view itself as above the law
         in China is that on April 25, 2019, the USTR placed Alibaba on its Notorious
         Markets List for the third year in a row.181 This designation occurred five
         years after the SAIC administrative guidance meeting in July 2014 and four
         years after the SAIC issued the White Paper detailing a plan of remediation
         in 2015. In its 2018 report, the USTR stated, “[a]lthough Alibaba has taken
         some steps to curb the offer and sale of infringing products, right holders . .
         . continue to report high volumes of infringing products and problems with
         using takedown procedures.”182 After a history of misconduct, scandals,
         vehement protests by brand owners, an extraordinary effort by the PRC
         government, and numerous blacklists by the U.S. government, Alibaba’s
         conduct has not changed appreciably. Under these circumstances, brand
         owners must confront the reality that Alibaba is not likely to change its
         conduct without intervention by the highest levels of the Party, probably only
         by a personal decision by Xi Jinping, China’s President and the General
         Secretary of the Communist Party.183 Until senior Party leaders intervene,
         brand owners must accept the likelihood that Alibaba believes that it can
         operate outside of the law in China with impunity and without fear of
         government reprisals.

         E. Amazon
              Amazon is currently the largest e-commerce marketplace in the United
         States184 and is the second largest in the world, trailing only Alibaba.185 As
         of 2016, the market value of Amazon exceeded that of the eight largest U.S.
         brick-and-mortar retailers combined, including Walmart, Target, and Best

            179 Id.
            180 This observation is based upon the author’s assessment of the overall tone of the SAIC
         White Paper, supra note 31, and the transcript of the administration guidance meeting, supra
         note 141.
            181 OFFICE OF THE UNITED STATES TRADE REPRESENTATIVE, SUPRA NOTE 114.
            182 Id.
            183 This is the author’s professional opinion based on his experience and knowledge of

         China. For a summary of Xi’s positions, see President Xi Jinping, THE U.S.-CHINA BUS.
         COUNCIL, https://www.uschina.org/president-xi-jinping (last visited July 1, 2019). See also #1
         Xi Jinping, FORBES, https://www.forbes.com/profile/xi-jinping/#2f2f40051601 (last visited
         July 1, 2019) (President Xi became the “core” leader of the Communist Party in 2016.).
            184 See Levy, supra note 107.
            185 See id.




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         Buy.186 In December 2018, Amazon’s GMV reached $239 billion.187 One of
         its most popular online retail services, Amazon Prime, now has over 100
         million members worldwide.188 Amazon’s official anti-counterfeiting policy
         states that it is the responsibility of the seller or supplier to ensure that its
         products are genuine, not counterfeits.189 Two aspects of Amazon’s business
         practices have led to a rise in online counterfeits.
               Once a brand owner agrees to sell its products on Amazon’s e-
         commerce marketplace, Amazon will source products not only from the
         brand owner, but also from other third-party vendors that sell the branded
         products. In order to have sufficient inventory on hand to satisfy customer
         orders expeditiously, Amazon’s warehouses will co-mingle products from
         the brand owner and from other third-party vendors into a single source of
         supply.190 If a third-party vendor ships a counterfeit product to Amazon, it
         becomes co-mingled with genuine products in Amazon’s warehouse. When
         a customer orders a product online, the customer may receive a product from
         the warehouse from either the brand owner or a third-party vendor, which
         might be a counterfeit. The source of the product is not clear to the customer
         when he or she makes a purchase, but the customer will generally assume
         that it was manufactured by the brand owner.
               Unable to make inroads into China’s e-commerce marketplace against
         competitors such as Alibaba, Amazon decided in 2015 to woo Chinese
         manufacturers to sell directly to U.S. consumers on its e-commerce site.191
         As China is the world’s largest source of counterfeits, the result was
         predictable: beginning in 2015, counterfeits soon began to proliferate on
         Amazon’s e-commerce sites, much to the chagrin and exasperation of brand
         owners. Brand owners’ complaints against Amazon also echo some of the
         complaints against Alibaba. For example, according to one brand owner
         representative, “Amazon is making money hand over fist from counterfeiters,
         and they’ve done about as little as possible for as long as possible to address
         the issue.”192




            186 Jeff Desjardins, The Extraordinary Size of Amazon in One Chart, VISUAL CAPITALIST

         (Dec. 30, 2016), https://www.visualcapitalist.com/extraordinary-size-amazon-one-chart/.
            187 See Levy, supra note 107.
            188 Austen Hufford & Georgia Wells, Amazon Prime Has More Than 100 Million

         Members, WALL ST. J. (Apr. 18, 2018), https://www.wsj.com/articles/amazon-prime-has-
         more-than-100-million-members-1524088630.
            189 Amazon Anti-Counterfeiting Policy, AMAZON, https://sellercentral.amazon.com/gp/

         help/external/201165970 (last visited July 1, 2019).
            190 Pierson, supra note 13.
            191 Shepard, supra note 9.
            192 Levy, supra note 18.




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         III. ENTITY VERIFICATION MEASURES AND THE
         REQUIREMENTS OF PRC LAW
               The discussion in Part II centers on how the concern is different in each
         case, although brand owners voice similar concerns about counterfeits
         available on Alibaba and Amazon. The major complaint by brand owners
         with Alibaba is that it facilitates the sale of counterfeits in order to satiate the
         enormous appetite for counterfeits among China’s consumers. In the case of
         Amazon, the major concern of brand owners is that U.S. consumers who seek
         to purchase genuine products are instead deceived into purchasing a
         counterfeit. In both cases, brand owners have expressed frustration with the
         lack of effective enforcement by these e-commerce platforms against
         webpages or postings selling counterfeits on Alibaba or Amazon’s websites.
         These problems are further discussed below.

         A. Problems with Enforcement
              Although brand owners have many complaints about enforcement
         issues against counterfeiters on Alibaba and Amazon platforms, the crux of
         these complaints can be summarized as follows: (1) counterfeiters use false
         identities and addresses and thus are untraceable; (2) brand owners must
         suffer through the use of cumbersome and ineffective notice and takedown
         procedures; and (3) existing measures used by e-commerce platforms do not
         deter repeat infringing activity.

         1. False Names, Identities, and Addresses
              Current e-commerce platforms, including Alibaba and Amazon, do not
         subject new sellers to adequate verification or confirmation although Alibaba
         is required to do so under PRC law; without an enforced verification or
         confirmation process, counterfeiters routinely use false or inaccurate names
         and addresses when registering with these e-commerce platforms.193 When
         brand owners pursue counterfeiters in enforcement actions, they discover that
         names and addresses are fictional, and the counterfeiters then disappear into
         the vast expanse of cyberspace. Brand owners argue that Alibaba and
         Amazon have few requirements for registration and that verification of this
         information is not thorough or adequate. In the case of Alibaba, the SAIC
         White Paper stated that “only lip service is paid to credential review and
         registration of vendors.”194 Brand owners often complain that vendors on
         Amazon use fictitious names and addresses.195

         2. Burdensome Notice and Takedown Procedures
              E-commerce platforms create bureaucratic or technical hurdles in

            193   SAIC WHITE PAPER, supra note 31, at 13.
            194   Id.
            195   See [a hereinafter reference], supra note 13.


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         helping brand owners to locate or identify sources of counterfeits and
         counterfeiters.196 These hurdles delay, frustrate, and create additional
         financial burdens for brand owners.197 Both Amazon and Alibaba use a notice
         and takedown procedure that is based upon requirements set forth in the
         DMCA198 and similar provisions in PRC law, respectively.199 When a brand
         owner discovers an offending webpage or posting, the brand owner is
         required to submit notices to the ISP under a certain set of criteria that results
         in the ISP requiring the removal of an offending webpage or posting. Brand
         owners have described the experience of using notice and takedown
         procedures as “Kafka-esque”200 and likened their use to being imprisoned in
         “Amazon purgatory.”201 Brand owners are required to place an order for the
         counterfeit goods, buy and receive the goods from the offending website, test
         the goods, verify that they are counterfeit, and then submit both the
         counterfeit and genuine product with notices documenting these actions.202
         Alibaba has a “three strikes” policy,203 requiring proof of three completed
         transactions involving counterfeits and submission of notices before an
         offending webpage can be removed. This process can take months, is
         expensive, and consumes significant time and effort by the brand owner.
         Even when brand owners satisfy this arduous process, they complain that the
         notices are still often ultimately rejected for technical reasons.204

         3. Lack of Deterrence
              In those instances in which brand owners can achieve a takedown of the
         offending website or otherwise bring pressure to bear on counterfeiters,
         brand owners complain that once the counterfeit goods disappear, they
         reappear in short order on a new webpage.205 Some brand owners refer to this
         process as a futile game of “Whac-A-Mole” in which a counterfeiter
         disappears only to immediately reemerge under a new name, identity, and
         location to resume its counterfeiting operations.206 In the meanwhile, brand
         owners have expended significant time, effort, and money in pursuing the

            196 See supra text accompanying note 15; see also supra text accompanying note 101.
            197 See Bercovici, supra note 15.
            198 See 17 U.S.C. § 512 (Westlaw through Pub. L. No. 116-68). See also Intellectual

         Property Policy for Sellers, supra note 101 (Amazon); Intellectual Property Rights (IPR)
         Protection Policy, supra note 101 (Alibaba).
            199 See generally Trademark Law of the People’s Republic of China, supra note 97; Law

         Against Unfair Competition of the People’s Republic of China, supra note 97.
            200 Bercovici, supra note 15.
            201 Id.
            202 Id.
            203 Enforcement Actions for Intellectual Property Rights Infringements Claims on

         Alibaba.com, ALIBABA (Nov. 1, 2017), https://rule.alibaba.com/rule/detail/2043.htm.
            204 See Bercovici, supra note 15.
            205 See supra text accompanying note 15.
            206 Bercovici, supra note 15.




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         counterfeiting without achieving any tangible results.

         B. Proposed Remedial Measures
              While counterfeiting on the Internet is a daunting problem, China
         provides the information technology tools that can be used to deter
         counterfeiters and that can address each of the three major enforcement issues
         faced by brand owners: false identities and addresses, convoluted notice and
         takedown procedures, and rampant recidivism. Most brand owners are
         completely unaware of or otherwise do not understand these potent tools.

         1. AIC Business License
               As part of China’s extensive system of industrial and social control, a
         legal regime of identification and attribution of legal liability exists that can
         be used against counterfeiters involved in e-commerce commerce. Both in
         the July 16, 2014 administrative guidance meeting and in its White Paper,
         the SAIC repeatedly refers to Alibaba’s need to control counterfeiting at the
         point of entry (i.e., registration on the Alibaba websites). The AICs stressed
         that if entry is well controlled, many of Alibaba’s current problems can be
         solved.207 This Article argues that brand owners should heed the advice of
         China’s enforcement authorities and seek to have e-commerce platforms
         implement effective registration procedures in accordance with the specific
         requirements of PRC law. These measures can create prophylactic measures
         at the point of entry that can create an effective deterrent to counterfeiting.
               Article 23 of SAIC Order No. 60, Measures on the Administration of
         Online Transactions (“MAOT”)208 requires business operators of online
         platforms to verify the legal identities of all entities or persons applying for
         access to their platform for the sale of products:
               The business operator of a third-party transaction platform shall
               examine and register as business operators the identities of the legal
               persons, other economic organizations or industrial and commercial
               sole proprietors that apply for access to the said platform for sale of
               products or provision of services, establish registration files and
               conduct regular verification and updating, and make public the
               information specified in their business licenses or provide electronic
               links to their business licenses in eye-catching locations on its main
               web pages for business activities.209

              As set forth above, Article 23 requires the e-commerce platform to
         display information in the business licenses of business operators or to

             207 Hua Yu of Fujian Provincial AIC: “Until now, it seems that there are some difficulties

         in solving some problems. But in fact, if the entity is well controlled, I don’t think it will be a
         problem.” Transcript of Admin. Guidance Meeting, supra note 141, at 27.
             208 See Administrative Measures for Online Trading, supra note 48.
             209 Id. at art. 23 (emphasis added).




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         provide a link to their business licenses.210 Under PRC law, every lawful
         business entity in the PRC must have a business license issued by the local
         AICs that contains the lawful business scope of the entity, its address, and
         the name of its legal representative.211 All lawful enterprises must have an
         official, AIC-issued business license; any entity that does not have a business
         license cannot lawfully operate.212Business operators obtain a business
         license by applying to local AICs that review their proposed business
         operations to ascertain that they are lawful and economically feasible.213 For
         example, if a business operator proposes to sell trademarked products, the
         AICs will ask for proof of a trademark registration or trademark licensing
         agreement.214 The issuance of a business license means that the AICs have
         reviewed and approved the proposed business plan of the applicant and found
         it to be lawful.
                Among its other functions, the business license sets forth the lawful
         business scope of the entity. For example, a business license might state that
         the entity is lawfully authorized to engage in the sale of laundry detergent or
         other cleansing agents for laundry. Such an entity would be acting unlawfully
         if it engaged in any business outside of that scope, such as, for example, the
         sale of peripheral equipment for computers or mobile phones. A business
         operator that obtains a business license for the sale of genuine products but
         instead sells counterfeits is in violation of its license and faces a fine or
         suspension of the license, which would require ceasing business operations.
                The business license also prevents the business operator from using a
         business name and address on an e-commerce site different from that on the
         business license. Only the business identified in the license by its name and
         address is lawfully entitled to use the business license, i.e. such licenses are
         not transferable and cannot be used by an entity other than the one that

            210  Id.
            211  Companies Law of the People’s Republic of China, ch. I, art. 7 (promulgated by the
         President of the PRC, Order No. 42, Oct. 27, 2005, effective on Jan. 1, 2006) (“The business
         license for a company shall state therein such matters as the name, domicile, registered capital,
         actual paid-up capital, business scope, the name of the legal representative, etc.”) [hereinafter
         Companies Law of the PRC].
             212 See id. (“Company registration authorities shall issue business licenses for companies

         established under the law. The date of issuance of a business license for a company shall be
         the date of establishment of the company.”). See National Enterprise Credit Information
         Publicity System, SAIC, http://www.gsxt.gov.cn/index.html (last visited July 1, 2019). See
         also The 5-in-1 China Business License (WFOE/WOFE), FDI CHINA (July 11, 2018),
         https://www.fdichina.com/blog/china-company-registration/wfoe-wofe/5-in-1-business-
         license/.
             213 This observation is based upon the author’s own experience in applying for business

         licenses in China. See Matt Slater, What Is a China AIC?, CHINA CHECKUP (Dec. 9, 2013),
         https://www.chinacheckup.com/blogs/articles/china-aic (“China AICs . . . provide official
         registration records for all companies in their jurisdiction[.]”).
             214 The author has applied for business licenses in China and was asked by the AIC to

         provide proof of ownership or authorized use of trademark rights for products sold under the
         mark to ensure that the business had the legal right to sell the branded products.


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         applied for and received the business license. A business operator that has
         sold counterfeit goods and that has been the subject of an enforcement action
         cannot just simply disappear and reappear on the Internet under a different
         business name and address; if the name and address do not match that on the
         license, the use of the license is unlawful. Strictly verifying the information
         on the business license will prevent business operators accused of
         counterfeiting from disappearing and immediately reappearing under a
         different name and address. To use a different name and address, the business
         operator would have to apply for a new business license from the AIC, a
         process that could take months.215
               Requiring a valid business license will preclude many underground
         counterfeiting factories, petty criminal organizations, smugglers, and other
         illegal entities from registering to sell on an e-commerce platform because
         such entities are unwilling to undergo scrutiny by the AICs for fear that their
         illegal activities will be exposed, leading to prosecution by AICs and other
         PRC authorities, such as the Public Security Bureau (the police). These types
         of nefarious entities and persons are also involved in brick-and-mortar
         counterfeiting; they operate illegal underground factories and have no
         business licenses.216 However, without a valid business license, these entities
         will be unable to register on an e-commerce platform such as Alibaba in
         accordance with Article 23 of the MAOT.

         2. Legal Representative
               The business license will also contain the name of the business entity’s
         legal representative.217 Under PRC law, every lawful business must have a
         natural person who serves as the legal representative of the business entity. 218
         According to PRC law, the legal representative has the clear authority to act
         on behalf of the business entity and can bind the business entity to contracts
         and other legal relationships.219 In many cases, the chairman of the board of
         directors of a company or a person of a similar rank in other organizations
         will serve as the legal representative.220 PRC authorities wanted to make sure
         that under the law, it was always clear which person within a business
         enterprise could sign a legally binding contract or create other legal

            215   This observation is based on the author’s own personal experience in applying for
         business licenses in China.
              216 The author’s own experience is that many of these counterfeiters do not operate their

         businesses within the boundaries of the laws and regulations.
              217 Companies Law of the PRC, supra note 211, at ch. I, art. 7
              218 General Principles of the Civil Law of the PRC, supra note 51, at ch. III, art. 38 (“In

         accordance with the law or the articles of association of the legal person, the responsible
         person who acts on behalf of the legal person in exercising its functions and powers shall be
         its legal representative.”).
              219 Id.
              220 Any person can serve as a legal representative, but companies usually appoint a high

         ranking official.


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         relationships.221 Although not specifically required by the MAOT, e-
         commerce platforms should require the business entity’s legal representative
         to undergo the registration procedures so as to make certain that the business
         entity has lawfully committed to legal obligations created by registration.
               Under PRC law, the legal representative is also personally subject to
         administrative and criminal liability whenever the company conducts illegal
         operations beyond the range approved by registration authorities, commits
         fraud, secretly withdraws or transfers funds, or engages in other illegal
         activities.222 The existence of the legal representative ensures the PRC
         government that there is always a flesh and blood person who will be
         responsible to PRC authorities for violations of the law by legal “persons,”
         such as a business enterprise. 223 PRC authorities did not want ultimate civil
         or criminal liability to rest solely with a legal fiction while natural persons
         escaped responsibility.224
               By identifying a business entity’s legal representative through requiring
         submission of its business license, e-commerce platforms such as Alibaba
         would provide the brand owner with a flesh and blood person against whom
         it can directly bring a complaint in a civil lawsuit under the PRC Trademark
         Law225 or Anti-Unfair Competition Law226 or whom the Public Security
         Bureau (the police) can arrest under the PRC Criminal Law.227
               With these requirements, brand owners would not be limited to using
         the e-commerce platform owner’s internal enforcement mechanism, such as

            221  General Principles of the Civil Law of the PRC, supra note 51, at ch. III, art. 38.
            222  General Principles of Civil Law of the People’s Republic of China, Article 49:
         Under any of the following circumstances, an enterprise as legal person shall bear liability, its
         legal representative may additionally be given administrative sanctions and fined and, if the
         offence constitutes a crime, criminal responsibility shall be investigated in accordance with
         the law:
             (1) conducting illegal operations beyond the range approved and registered by the
             registration authority;
             (2) concealing facts from the registration and tax authorities and practicing fraud;
             (3) secretly withdrawing funds or hiding property to evade repayment of debts;
             (4) disposing of property without authorization after the enterprise is dissolved, disbanded
             or declared bankrupt;
             (5) failing to apply for registration and make a public announcement promptly when the
             enterprise undergoes a change or terminates, thus causing interested persons to suffer
             heavy losses;
             (6) engaging in other activities prohibited by law, damaging the interests of the State or
             the public interest.
         General Principles of the Civil Law of the PRC, supra note 51, at ch. II, art. 49.
             223 General Principles of the Civil Law of the PRC, supra note 51, at ch. III, arts. 38 & 49.
             224
                 Id.
             225 Trademark Law of the People’s Republic of China, supra note 97.
             226 Law Against Unfair Competition of the People’s Republic of China, supra note 97.
             227 Selling counterfeits violates Article 140 of the Criminal Law of the People’s Republic

         of China. See Criminal Law of the People’s Republic of China, ch. III, art. 140 (promulgated
         by the President of the PRC, Order No. 83, Mar. 14, 1997).


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         the notice and takedown procedures. As PRC law requires that the business
         operator make its business license available on the e-commerce platform and
         as business licenses are publicly available on the AIC websites, the brand
         owner does not need to go through the platform owner to obtain the necessary
         information to directly pursue the business operator.228 Instead, the brand
         owner can immediately act against the legal representative listed in the
         business license upon discovering an offending webpage or posting rather
         than be subject to the long and frustrating delays of the notice and takedown
         procedures. Of course, the brand owner can also use the platform owner’s
         internal procedures in addition to bringing an action directly against the
         business operator through PRC enforcement authorities or, under some
         circumstances, in the United States if the offender has sufficient U.S.
         contacts.229
               The use of an enforcement method that does not rely on the active
         participation of the e-commerce platform is particularly useful in the case of
         Alibaba, which the PRC authorities themselves have identified as viewing
         itself above the law. Any method of enforcement against counterfeiters that
         requires the active participation of Alibaba could be met with half-hearted
         efforts or resistance, as many brand owners have persistently suspected and
         complained. Directly pursuing the counterfeiter will also relieve brand
         owners from the burden of using Amazon’s convoluted internal procedures.

         3. Verification and Deterrence
              Requiring, verifying, and displaying seller information should create an
         effective deterrent against selling counterfeits on Alibaba and other e-
         commerce platforms, since fewer counterfeit sellers would even turn to the
         platform in the first place if such sufficient safeguards were in place.
         Counterfeiters always rely on the use of false identities, false names, and
         false addresses because they are fearful of detection, capture, arrest, and
         prosecution.230 This is true of counterfeiters who sell in brick-and-mortar
         outlets as well as counterfeiters who sell on the Internet. The essential tools

             228 A similar procedure can be used in the case of sole proprietorships that would require

         individuals to register, i.e. Alibaba should do a strict review of the identity card of the
         registrant. “A natural person who intends to engage in online product transactions shall carry
         out business activities via a third-party transaction platform, and submit to the third-party
         transaction platform his/her name, address, valid identity proof, valid contact details and other
         real identity information.” General Principles of the Civil Law of the PRC, supra note 51, at
         ch. I, art. 7. The same principle applies: identifying the name and address of a flesh and blood
         person who can be held civilly and criminally responsible can be an effective deterrent against
         counterfeits on Alibaba websites.
             229
                 It would be possible to file an action against a Chinese counterfeiter in the United States
         only if the counterfeiter is subject to the personal jurisdiction of U.S. courts under the
         minimum contacts standard set forth in Int’l Shoe v. Wash., 326 U.S. 310 (1945) and its
         progeny.
             230 This observation is based on the author’s own extensive experience in pursuing

         counterfeiters in China and in the United States.


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         of the counterfeiter are secrecy, subterfuge, and artifice. The counterfeiter
         relies on these tools to disappear at the first sign of trouble. Denying the
         counterfeiter the use of these tools of secrecy and disguise would force the
         counterfeiter to operate openly and transparently subject to legal actions in
         China or in the United States, a prospect that counterfeiters abhor. Many
         counterfeiters would find the price of transparency and the risks of capture
         too high a price to pay for operating on the Internet and, as a result, will be
         deterred from registering on e-commerce platforms.
               Currently, however, as the SAIC notes, Alibaba “only pays lip
         service”231 to verifying information. The SAIC specifically criticized Alibaba
         for numerous careless and lax practices in its examination of business
         licenses that fail to verify that the entity named in the business license was
         the user of the license.232 A review of the Alibaba webpages contained in the
         Appendix indicates the business operator has not displayed or provided
         access to its business license on its webpage as required by Article 23 of the
         MAOT.233 At present, many individuals register on Alibaba’s websites by
         using false identification papers, sets of which—as the SAIC noted—can be
         purchased on Alibaba’s websites.234 Under its guidelines, Amazon does not
         require online sellers from China to submit an AIC business license or
         identify a legal representative. Currently, Amazon only requires a business
         name, a telephone number, and some form of personal identification, and, as
         a result, many vendors provide fictitious information.235

         4. Amazon and PRC Law
              Although Alibaba is clearly subject to the SAIC Measures on the
         Administration of Online Transactions, it is arguable that Amazon is also
         subject to these provisions as applied to business entities in China that
         register on Amazon. Under traditional choice of law principles, the physical
         location of the business entities in China provides a basis for choosing
         Chinese law to govern the matter of the registration of those entities.236 Even

            231  SAIC WHITE PAPER, supra note 31, at 13.
            232  “Some online stores that are required to upload business licenses to pass the true name
         authentication have an entity name, business address, residential information that apparently
         are not consistent with the entity name, business address or residential address on the business
         license. Some vendors uploaded business license information of other companies.” Id.
             233 See Appendices 1-3.
             234 Transcript of Admin. Guidance Meeting, supra note 142, at 98.
             235 Selling on Amazon: Frequently Asked Questions, supra note 44 (requiring a business

         name, address, and contact information among other information in order to open an Amazon
         seller account); see also supra note 13 (brand owners find vendors provide bogus
         information).
             236 Under the Restatement (Second) of Conflicts of Law § 188(2), the following factors

         would support a finding of PRC law to govern the registration requirements: (a) place of
         contracting, (c) place of performance, (d) location of the subject matter of the contract, and
         (e) place of incorporation and place of business of the parties. Restatement (Second) of
         Conflicts of Law § 188(2) (Am. Law Inst. 1971).


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         if choice of law rules do not dictate the application of the SAIC Measures,
         nothing prevents Amazon from choosing on its own, through a choice of law
         clause in its contracts with vendors, to follow PRC law and require each
         Chinese business to submit an AIC business license or a link to the license
         on its websites as well as requiring the legal representative to undergo
         registration procedures.237 This process will allow brand owners in the United
         States to bring an action directly against business operators in China that use
         offending webpages or posts on Amazon in lieu of or in addition to pursing
         notice and takedown procedures. As the vast majority of counterfeits
         originate from China,238 such measures could be an effective deterrent to
         counterfeits on Amazon.

         5. Consent to Arbitration before CIETAC
               Although not required by MAOT or other PRC law, e-commerce sites
         should also include in their registration procedures a clause requiring the
         resolution of disputes involving foreign elements by arbitration before the
         China International Economic and Trade Arbitration Commission
         (CIETAC).239 CIETAC has its headquarters in Beijing and facilities in other
         cities in China and Hong Kong;240 it lists many foreign experts among its
         roster of arbitrators,241 and parties can choose English as the language of the
         arbitration.242 The clause should include a provision that the business
         operator consents to the arbitration of disputes with the platform owner or an
         entity authorized by the platform owner, i.e., the brand owner.
               Arbitration clauses providing for resolution of disputes by CIETAC are
         now commonly used by many companies to resolve international business
         disputes that involve China,243 and arbitration is generally the normal method
         for resolving international disputes.244 The advantage of such a clause for the
         brand owner is the certainty that an action can be filed against the legal

            237   Parties can also choose the applicable law through a choice of law provision. See id. §
         187.
            238  See supra Part II.A.
            239  China Int’l Econ. & Trade Arbitration Comm’n (CIETAC) Arbitration Rules, art. 3(2)
         (revised and adopted by the China Council for the Promotion of International Trade and China
         Chamber of International Commerce on Nov. 4, 2014 and effective on Jan. 1, 2015),
         http://www.cietac.org/Uploads/201904/5caae5be03bb5.pdf [hereinafter CIETAC Arbitration
         Rules].
             240 CIETAC Arbitration Rules, supra note 239, art. 2(3).
             241 Arbitrators, CIETAC, http://www.cietac.org/index.php?g=User&m=Arbitrator&a=

         index&l=en (last visited July 1, 2019).
             242 CIETAC Arbitration Rules, supra note 239, art. 30.
             243
                 See Model Clause: China International Economic and Trade Arbitration Commission
         (CIETAC), INT’L TRADE CENTR., http://www.intracen.org/Model-Clause-China-International-
         Economic-and-Trade-Arbitration-Commission-CIETAC/ (last visited July 1, 2019)
         (promoting the use of a model arbitration clause using the CIETAC).
             244 CHOW & SCHOENBAUM, supra note 55, at 593 (noting that arbitration is now the normal

         way to resolve international business disputes).


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         representative of the business operator with CIETAC and that CIETAC will
         have jurisdiction over the respondent. This will allow brand owners to move
         expeditiously when filing an action with CIETAC without having to deal
         with the uncertainty of preliminary issues such as proper notice and
         jurisdiction in a court-based litigation. The brand owner will also not need to
         suffer through the agony of waiting months required by using notice and
         takedown procedures.
              CIETAC awards enjoy a high degree of respect and enforceability in
         China. PRC law requires parties to implement CIETAC arbitral awards245
         and the awards are enforceable by Chinese courts at the local level.246
         Consent to arbitration before a prestigious entity such as CIETAC would act
         as a further powerful deterrent to counterfeiters in China, who are used to
         dodging legal authorities not consenting to appear before them. The threat of
         being brought before CIETAC should further deter counterfeiters from
         registering on e-commerce platforms. For those merchants that do register,
         brand owners will have a quick and effective method of enforcement.

         IV. CONCLUSION
              The dawn of the age of e-commerce in the new millennium opened new
         possibilities for legitimate commerce, but it also created vast new
         opportunities for illegal commerce, such as the sales of counterfeits on a
         previously impossible scale and level of penetration. This Article has detailed
         some of the daunting challenges the Internet created for brand owners and
         the brand owners’ numerous but frustrated efforts in dealing with this potent
         new threat.
              This study has focused on the two largest e-commerce sites in the world
         that dominate online retail services in China and the United States and the
         lessons learned can be immediately applied to other sites. The kinds of
         problems that brand owners face on Alibaba and Amazon are both different
         and similar.
              The problems are different in that Alibaba facilitates the sale of
         counterfeits to satiate the enormous demand for counterfeits by Chinese
         consumers, whereas Amazon sells counterfeits on its e-commerce site to U.S.
         consumers who are deceived into buying a counterfeit when they sought to
         buy a genuine product. Together, Alibaba and Amazon can deliver a
         crippling one-two punch to brand owners: Alibaba facilitates the sale of
         counterfeits of their products to those consumers who seek them, and
         Amazon facilitates the sale of counterfeits to those who do not. Considering

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                 CIETAC Arbitration Rules, supra note 239, art. 55(1) (“The parties shall perform the
         arbitral award within the time period specified in the award. If no time period is specified in
         the award, the parties shall perform the award immediately.”)
             246 CIETAC Arbitration Rules, supra note 239, art. 55(2) (“Where one party fails to

         perform the award, the other party may apply to a competent court for enforcement of the
         award in accordance with the law.”)


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         that there are other huge e-commerce sites such as JD.com and Tencent in
         China and e-Bay and Groupon in the United States with similar issues, brand
         owners are faced with numerous dangerous threats.
               The problems are similar in that brand owners find the pursuit of
         counterfeiters through these two e-commerce giants to be frustrating and
         ineffective and the direct pursuit of counterfeiters to be futile, as
         counterfeiters quickly vanish into cyberspace at the first sign of trouble.
               Both sets of problems can be remediated through the suggested course
         of action set forth in this Article. However, while brand owners have made
         many demands to Alibaba and Amazon to streamline and improve their
         internal procedures for the monitoring of counterfeits and their notice and
         takedown procedures, to the best of the author’s knowledge, no brand owner
         has looked closely at PRC law for help despite the urging of PRC officials.247
         Given the poor reputation of China in protecting foreign intellectual property
         rights,248 this lack of trust in PRC law is understandable, but information
         technology tools are available that can be put to effective use. Of course,
         these tools were not created by the PRC with the goal of protecting foreign
         brand owners, but instead for the purpose of satisfying China’s obsessive
         need to closely monitor all aspects of Chinese civil society. While China is
         far behind the United States in protecting intellectual property rights, China
         is far ahead of most countries in using information technology to monitor and
         supervise all aspects of Chinese civil society.249 These tools can provide a
         level of effective deterrence to Chinese counterfeiters that seek to sell their
         illegal wares on internet commerce sites based in China or the United States.
         Brand owners can use the tools detailed in this Article on their own, or in
         conjunction with existing and developing new tools through internet
         commerce sites as an overall strategy of deterrence.
               To be able to use the tools discussed in this Article, brand owners only
         need to insist on what they have every right to receive: e-commerce sites in
         China, such as Alibaba, must faithfully obey relevant provisions of PRC law
         that are simple and straightforward, an area in which Alibaba falls far
         short;250 and e-commerce sites in the United States, including Amazon,
         should apply PRC law on entity registration of Chinese business operators
            247  See supra note 206.
            248  See Daniel C.K. Chow, The Myth of China’s Open Market Reforms and the World
         Trade Organization, U. PENN. J. INT’L L. 8 (forthcoming 2019) (file on copy with the author).
             249 One example is China’s recent social credit system, which involves assigning a social

         credit score indicating the desirability of a citizen’s conduct to each citizen in China, a country
         of over 1.38 billion people. See supra note 42. There is also a more menacing side to China’s
         use of technology in monitoring its citizens. Critics have argued that China has used advanced
         technology to create an “all seeing police state” in the rebellious Muslim-dominated area of
         Xinjiang Province. See China’s Hi-Tech Police State in Fractious Xinjiang a Boon for
         Security Firms, S. CHINA MORNING POST (Jun. 27, 2018), https://www.scmp.com/
         news/china/diplomacy-defence/article/2152749/chinas-hi-tech-police-state-fractious-
         xinjiang-boon.
             250 See supra Part II.D.2.




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         under traditional choice of law rules, a choice of law clause, or voluntarily.
         Verification of entity registration should become easier with the enactment
         of proposed new data security legislation that would impose civil and
         criminal liability for the misuse of electronic information.251 Entities that
         register on e-commerce sites could become liable for the use of false,
         misleading, or inaccurate business licenses and thus would have an additional
         legal incentive to use business licenses accurately. 252
               Alibaba poses a particularly formidable challenge to brand owners due
         to its overwhelming size and power within China and its leading role in
         facilitating the online sale of counterfeits. Alibaba’s prodigious wealth and
         strength has led, in the words of PRC officials, to a culture of “arrogance.”253
         Brand owners have suspected for years that Alibaba tacitly tolerates and
         supports counterfeiting in order to earn revenue from these sales. Recently,
         PRC national government authorities have confirmed these suspicions as the
         result of an extraordinary national-level intervention intended to discipline
         Alibaba. Beyond tolerating and supporting counterfeiting, Alibaba, in the
         words of PRC national authorities, views itself as above the law and unafraid
         of and not intimidated by PRC enforcement authorities.254 In fact, the
         opposite seems to be the case, as the 2014 investigation of Alibaba by the
         SAIC indicates: government authorities are reluctant to seriously discipline
         Alibaba or its business due to Alibaba’s exalted stature and reputation as a
         national paragon in China.255 This raises a deeper issue with Alibaba for
         brand owners, as this attitude is unlikely to change without intervention by
         the highest levels of the Communist Party, a topic that deserves further
         scholarly exploration but is beyond the scope of this Article.
               The proposed course of action described in this Article has the
         advantage of not having to rely on Alibaba’s active participation; all that is
         required is that Alibaba mechanically apply the law as is required for
         registration of online vendors, and brand owners can on their own enforce
         their rights against offending parties in civil and criminal actions in China or
         the United States. The proposals set forth in this Article also apply to
         problems that brand owners face on Amazon and other U.S.-based e-
         commerce sites, so long as these sites apply PRC law as a result of choice of
         law analysis, a choice of law clause, or voluntarily. So long as Amazon
         follows PRC law in entity registration verification, brand owners can proceed
         directly with legal actions against counterfeiters and infringers in China or

            251 Shuju Anquan Guanli Banfa (Zhengjiu Yijian Gao) Di Si Tiao (数据安全管理办法

         （征求意见稿）第四条), translated in Security Measures for Data Security Management
         (Draft for Comments), art. 4, COVINGTON UNOFFICIAL TRANSLATION, https://www.inside
         privacy.com/wp-content/uploads/sites/6/2019/05/Measures-for-Data-Security-
         Management_Bilingual-1.pdf (last visited Nov. 25, 2019).
            252 Id.
            253 See supra text accompanying note 151.
            254 See supra text accompanying notes 151-156.
            255 See supra text accompanying note 182.




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         the United States and are not relegated to the misery of relying solely on
         Amazon’s convoluted and cumbersome internal procedures.
              Ironically, while most brand owners have focused their attention on
         streamlining the internal monitoring procedures of e-commerce platforms,
         they have ignored the more effective tools that are available in plain sight in
         China’s legal system. By using these tools created by China’s obsessive need
         to closely monitor and control all aspects of its civil society, brand owners
         can help to deter counterfeiters by forcing them to shed their concealment
         and anonymity and by exposing them to what they fear and loathe the most:
         transparency and accountability for their illegal actions.




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         V. APPENDICES

         Appendix 1. Alibaba Listing: Gucci Guccio Handbags




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         Appendix 2. Alibaba Listing: Hennessy XO




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         Appendix 3. Alibaba Listing: Abercrombie & Fitch Sweatpants




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         Appendix 4. Abercrombie & Fitch Sweatpants




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